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                                           #:993


1     Jeff Macy “In Pro Per”                                          02/18/2025
      P.O. Box #103
2     Twin Peaks, CA 92391                                                 AP
      Telephone: (909) 744 -8480
3     Email: 1611Bible.us@gmail.com
4                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
5
      JEFF MACY, as an individual,               Case No.: 5:23-cv-02245-RGK-BFM
6
                     PLAINTIFF,                  DECLARATION OF JEFF MACY IN
7     vs.                                        SUPPORT OF OPPOSITION OF
                                                 DEFENDANTS CHRISTOPHER BATES &
8
      CALIFORNIA HIGHWAY PATROL, a State         JEFFREY O’BRIEN’S MOTION FOR
9
      Agency; Officer CHRISTOPHER BATES,         SUMMARY JUDGMENT
      Supervisor Officer Sergeant JEFFREY
10    O’BRIEN, & DOES 1-10, inclusive,           Date: March 18, 2025
                                                 Time: 10:00 a.m.
11                 DEFENDANTS.                   Courtroom: 780
                                                 Judge: Hon. Brianna Fuller Mircheff
12
                                                 Trial Date: Not Set
13                                               Action Filed: 5/06/2024

14    I, Jeff Macy declare:

15          1. I am the plaintiff & I have personal knowledge of the facts set forth in

16             this declaration.

17          2. Attached as Exhibit 1 is a true & correct copy of Plaintiff’s Second

18             Amended Complaint, ECF 18.
19          3. Attached as Exhibit 2 is a true & correct copy of an Officer’s illegal
20             search without probably cause.
21          4. Attached as Exhibit 3 is a true & correct copy of Plaintiff’s Risk
22             Management Claim.
23          5. Attached as Exhibit 4 is a true & correct copy of California Code
24             Vehicle Code § 27315.
25
            6. Attached as Exhibit 5 is a true & correct copy of another Risk
26
               Management Claim.
27

28                                           PAGE 1
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1
            7. Attached as Exhibit 6 is a true & correct copy of Plaintiff’s Civilian
2
               Complaint.
3
            8. Attached as Exhibit 7 is a true & correct copy of California Highway
4
               Patrol not providing Public Record’s Requests.
5
            9. Attached as Exhibit 8 is a true & correct copy of Officer-Violator
6
               Contact.
7
            10. Attached as Exhibit 9 is a true & correct copy of Plaintiff’s Civilian
8
               Complaint Front Page Received.
9
            11. Attached as Exhibit 10 is a true & correct copy of Plaintiff’s Civilian
10
               Complaint Page 1.
11

12
            12. Attached as Exhibit 11 is a true & correct copy of Plaintiff’s Civilian

13             Complaint Page 2.

14          13. Attached as Exhibit 12 is a true & correct copy of Plaintiff’s Civilian

15             Complaint Page 3.

16          14. Attached as Exhibit 13 is a true & correct copy of Plaintiff’s Civilian

17             Complaint Page 4.

18          15. Attached as Exhibit 14 is a true & correct copy of Plaintiff’s Civilian

19             Complaint Page 5.
20          16. Attached as Exhibit 15 is a true & correct copy of Plaintiff’s Civilian
21             Complaint Page 6.
22          17. Attached as Exhibit 16 is a true & correct copy of Solid Waste
23             Management Dump Weight Receipt.
24          18. Attached as Exhibit 17 is a true & correct copy of Highway Patrol
25             Information.
26
            19. Attached as Exhibit 18 is a true & correct copy of the original front
27
               ticket LQ30682.
28                                           PAGE 2
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1
            20. Attached as Exhibit 19 is a true & correct copy of the original back
2
               ticket LQ30682.
3
            21. Attached as Exhibit 20 is a true & correct copy of original payment
4
               collection options.
5
            22. Attached as Exhibit 21 is a true & correct copy of unanswered public
6
               records request 23-3765.
7
            23. Attached as Exhibit 22 is a true & correct copy of Macy Video
8
               Evidence.
9
            24. Attached as Exhibit 23 is a true & correct copy of California Highway
10
               Patrol Complaint.
11

12
            25. Attached as Exhibit 24 is a true & correct copy of California Highway

13             Patrol Records.

14          26. Attached as Exhibit 25 is a true & correct copy of California Highway

15             Patrol Risk Management Public Records Request.

16          27. Attached as Exhibit 26 is a true & correct copy of Highway Patrol’s

17             copy of ticket LQ30682.

18          28. Attached as Exhibit 27 is a true & correct copy of Defendant Bates not

19             answering Plaintiff’s Interrogatories.
20          29. Attached as Exhibit 28 is a true & correct copy of Defendant O’Brien
21             not answering Plaintiff’s Interrogatories.
22          30. Attached as Exhibit 29 is a true & correct copy of California Highway
23             Patrol Public Records Request.
24          31. Attached as Exhibit 30 is a true & correct copy of Highway Patrol no
25             fault.
26
            32. Attached as Exhibit 31 is a true & correct copy of Office of Risk &
27
               Insurance Management Failure of Duty.
28                                           PAGE 3
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                                       EXHIBIT 1
28                                       PAGE 6
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                                           #:999


1     Jeff Macy “In Pro Per”
      P.O. Box #103
2     Twin Peaks, Ca. 92391
      (909) 744 -8480
3     macybuilders@yahoo.com
                             SECOND AMENDED COMPLAINT
4                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                              COUNTY OF SAN BERNARDINO
5
      JEFF MACY, as an individual,                Case No.: 5:23-CV-02245-RGK-BFM
6
      PLAINTIFFS,
7                                                 COMPLAINT FOR VIOLATIONS OF CIVIL
      vs.                                         RIGHTS (42 U.S.C. § 1983);
8
                                                  STATE LAW CLAIMS FOR DAMAGES,
9
      CALIFORNIA HIGHWAY PATROL, a State          INJUNCTIVE AND DECLARATORY RELIEF
      Agency; Officer CHRISTOPHER BATES, in       DEMAND FOR JURY TRIAL FOR:
10    his official capacity, Supervisor Officer
      Sergeant JEFFREY O’BRIEN, in his official   (1) UNLAWFUL ticket.
11    capacity, and DOES 1-10, inclusive,         (2) Severe Emotional Distress
                                                  (3) Endangerment
12    DEFENDANTS.                                 (4) Cover up.
                                                  (5) Refusal to obey Public Records
13                                                Request #23-3765 San Bernardino.
                                                  (6) Fourth Amendment Violations.
14                                                (7) Supervisory Liability (42 U.S.C. §
                                                  1983).
15                                                (8) Negligence.
                                                  (9) Conspiracy.
16

17
                                                         [DEMAND FOR JURY TRIAL]
18
             “When a man assumes a public trust, he should consider himself as public
19
      property, and justly liable to the inspection and vigilance of public opinion; and
20    the more sensibly he is made to feel his dependence, the less danger will there
21
      be of his abuse of power — The abuse of power, that rock on which good
      governments, and the people’s rights, have been so often wrecked.” — Thomas
22    Jefferson (Highway Patrol Officer O’Brian- said, “Jeff Macy was not allowed to
23    conduct his own investigation, ask questions or video record stop” Other officer
      Bates refused to answer about his id or badge #; or tell what Jeff Macy was
24    being charged with =/. Public records request #23-3765 4 video/audio
25    recordings from Highway Patrol went missing. So Highway Patrol can’t give 2
      Body & 2 Patrol car Video/audio recordings to Macy’s.)
26

27

28                                           PAGE 7
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                                                 #:1000


1
      PLAINTIFF JEFF MACY (“Mr. Macy”), through their undersigned counsel, hereby
2
      files this Complaint against Defendants California Highway Patrol Running
3
      Springs, Christopher Bates (“Bates”), Jeffrey O’Brien (“O’Brien”), and Does 1 to
4
      10, inclusive (collectively “Defendants”), alleges as follows:
5

6
                                          JURISDICTION AND VENUE
7
      1. This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a) (3-
8
         4) because Plaintiffs assert claims arising under the laws of the United States
9
         including 42 U.S.C. §§ 1983, 1985 & 1988, the Fourth & Fourteenth
10
         Amendments of the United States Constitution. This court has supplemental
11

12
         jurisdiction over state law claims pursuant to 28 USC § 1367 because those

13       claims are so related to PLAINTIFF’S federal claims that the claims form part of

14       the same case and/or controversy pursuant to Article III of the United States

15       Constitution.

16    2. Venue is properly founded in this judicial district pursuant to 28 USC §§ 1391(b)

17       and (c) in that a substantial part of the events giving rise to the claims in this

18       action occurred within this District and Defendants are subject to personal

19       jurisdiction in this district.
20                                               PARTIES
21    3. PLAINTIFF JEFF MACY, is a citizen of the State of California, and at all relevant
22       times herein was a resident in San Bernardino County in the State of
23       California.
24    4. Defendant California Highway Patrol Running Springs, is and at all times
25       relevant a public entity located in the County of San Bernardino and existing
26
         under the laws of the State of California.
27

28                                                PAGE 8
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                                           #:1001


1
      5. Defendant Christopher Bates is and at all times relevant a resident in the
2
         County of San Bernardino and existing under the laws of the State of
3
         California.
4
      6. Defendant Jeffrey O’Brien is and at all times relevant a resident in the
5
         County of San Bernardino and existing under the laws of the State of
6
         California.
7
      7. On information and belief at all times relevant, Defendant DOES 1-10 were
8
         residents of the County of San Bernardino and are sued in their individual
9
         capacity.
10
                         FACTS COMMON TO ALL CAUSES OF ACTION
11

12
      8. After 2-day October 23, 24 2023 trial Jeff Macy was innocent of the seat belt

13       infraction traffic ticket and not responsible to pay seat belt ticket.

14    9. Each and every allegation set forth in each and every averment and

15       allegation of this pleading hereby is incorporated by this reference in each

16       and every averment and allegation of this pleading.

17    10. I am informed and believe that Defendants own ticket itself CT: 001 vc “No

18       Seat Belt”-admits Plaintiff’s family had seatbelts on, and says “…secured by a

19       non-factory equipped seat belt” <–Word for word from Officer Bates written
20       on ticket!
21    11. I am informed and believe that Officer Bates asked plaintiffs kids to get out of
22       the truck, further endangering plaintiff’s family on HWY 18, high-speed road.
23       Plaintiff and family could have gotten hit by traffic while standing on the
24       Highway 18 road in the hot sun for over 1 hour.
25    12. I am informed and believe that it was an unlawful police detention on
26
         suspicion of out of view no seatbelt, yet officer said everyone had a secured
27
         seatbelt on! – “Unlawful police detention is when law enforcement, without
28                                           PAGE 9
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                                          ID #:1002


1
         legal justification, restricts your freedom to leave. Doing so constitutes a civil
2
         rights violation based on the Fourth Amendment. That amendment to the U.S.
3
         Constitution prohibits officers from conducting unreasonable searches or
4
         seizures.”
5
      13. I am informed and believe that §3.02 Presumption of Innocence; Proof
6
         Beyond a Reasonable Doubt:
7
            a. “It is a cardinal principle of our system of justice that every person
8
               accused of a crime is presumed to be innocent unless and until his or
9
               her guilt is established beyond a reasonable doubt. The presumption is
10
               not a mere formality. It is a matter of the most important substance.
11

12
            b. The presumption of innocence alone may be sufficient to raise a

13             reasonable doubt and to require the acquittal of a defendant. The

14             defendant before you, Jeff Macy, has the benefit of that presumption

15             throughout the trial, and you are not to convict [him/her] of a

16             particular charge unless you are persuaded of [his/her] guilt of that

17             charge beyond a reasonable doubt.

18          c. The presumption of innocence until proven guilty means that the

19             burden of proof is always on the government to satisfy you that
20             [defendant] is guilty of the crime with which [he/she] is charged
21             beyond a reasonable doubt. The law does not require that the
22             government prove guilt beyond all possible doubt; proof beyond a
23             reasonable doubt is sufficient to convict. This burden never shifts to
24             [defendant]. It is always the government’s burden to prove each of
25             the elements of the crime[s] charged beyond a reasonable doubt by
26
               the evidence and the reasonable inferences to be drawn from that
27
               evidence. [Defendant] has the right to rely upon the failure or inability
28                                           PAGE 10
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1
               of the government to establish beyond a reasonable doubt any
2
               essential element of a crime charged against [him/her]. United States
3
               v. DeLuca, 137 F.3d 24, 37 (1st Cir. 1998 “If, after fair and impartial
4
               consideration of all the evidence, you have a reasonable doubt as to
5
               [defendant]’s guilt of a particular crime, it is your duty to acquit
6
               [him/her] of that crime…”
7
      14. I am informed and believe that 2 Highway Patrol Officers violated Plaintiffs
8
         Jeff, Jerusha, Josiah, Jodiah’s Macy’s Federal Civil rights. 1st Amendment right
9
         to record police! (Glik v. Cunniffe, 655 F.3d 78 (1st Cir. 2011) “is a case in which
10
         the United States Court of Appeals for the First Circuit held that a private
11

12
         citizen has the right to record video and audio of police carrying out their

13       duties in a public place.”

14    15. I am informed and believe that Highway Patrol said, “Not allowed to record

15       during his (highway patrol officer) traffic stop”. Josiah Macy took over

16       recording at Jeff Macy’s request for fear of his safety. Jeff Macy was ordered

17       cannot investigate. Illegal traffic stop for “suspicion of non-factory installed

18       vehicle seat belt”. –Police are not above the Law. Federal Civil Enforcement.

19       (34 USC §12601)
20    16. I am informed and believe that the Fourth Amendment to the Constitution.
21       “The right of the people to be secure in their persons, houses, papers, and
22       effects, against unreasonable searches and seizures, shall not be violated,
23       and no warrants shall issue, but upon probable cause, supported by oath or
24       affirmation, and particularly describing the place to be searched, and the
25       persons or things to be seized.” -Officer entered plaintiff’s truck without
26
         permission and seized private property images without consent.
27

28                                           PAGE 11
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                                          ID #:1004


1
      17. I am informed and believe that the Supreme Court noted in (Mapp v. Ohio
2
         (1961)), there remains no fixed test for reasonableness. Instead, trial courts
3
         determine reasonableness using an objective standard on a case-by-case
4
         basis. The reasonableness inquiry under the Fourth Amendment focuses on
5
         the specific context and the threat that the suspect poses. In the event that
6
         an individual believes law enforcement failed to conduct a seizure
7
         reasonably, that individual may pursue a civil action against the relevant
8
         government officers for a violation of his or her constitutional rights.
9
      18. I am informed and believe that no-where does vehicle code say, “Must have
10
         a manufactured factory installed seat belt?” Illegal search and seizure.
11

12
         Officer Bates climbed up into Macy’s trash truck and took pictures without

13       permission. –The pictures are self-evident of this violation as video recorded

14       by Josiah Macy. Civil rights act 1871 (42 USC §1983) “willfully” 18 USC § 242

15       “specific intent” (Screws v U.S. 91 (1945) Federal civil rights crimes: “A pattern

16       or practice by LAW ENFORCEMENT OFFICERS to deprive people of their

17       constitutional rights.” (34 USC § 12601)

18    19. I am informed and believe that Exhibit #1 video recording of Officer Bates

19       with a folded over shirt intentionally covered Officers name tag, & refused to
20       identify himself in full, even when requested many times by Jeff Macy.
21       “Thus, there is no absolute requirement that law enforcement officers identify
22    themselves prior to conducting a search or seizure. Instead, a failure to do so
23    bears on the reasonableness of the officers’ overall behaviors, including, as the
24    U.S. Court of Appeals for the Eighth Circuit noted in Atkinson v. City of Mountain
25    View, Mo. (2013), the nature of the plaintiff’s crime and whether or not the
26
      plaintiff posed an immediate threat to the officer. A unanimous Seventh Circuit
27
      panel in Doornbos v. City of Chicago (2017) stated that, “[a]lthough some
28                                           PAGE 12
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1
      unusual circumstances may justify an officer’s failure to identify himself in rare
2
      cases, it is generally not reasonable for a plainclothes officer to fail to identify
3
      himself when conducting a stop.” Thus, there is some chance that an officer
4
      could be denied qualified immunity on the basis of a failure to identify if that
5
      failure was deemed unreasonable and precedents just discussed had “clearly
6
      established” a right to disclosure.” In the event of a constitutional violation, the
7
      doctrine of qualified immunity…
8
         Reasonableness standard is essential. Only if the right(s) in question has been
9
      clearly established and a reasonable officer would not believe that the activity
10
      the officer engaged in was lawful, will that officer be denied qualified immunity.
11

12
      “The nature of the inquiry into the reasonableness of a law enforcement officer’s

13    failure to identify as such is largely dependent on where the search or seizure in

14    question occurred.”- Supreme Court.

15       Similarly, Section 5–331.09 of the Code of the District of Columbia requires that

16    the Metropolitan Police Department “ensure that all uniformed officers assigned

17    to police First Amendment assemblies are equipped with the enhanced

18    identification and may be identified even if wearing riot gear,” including “by

19    modifying the manner in which those officers’ names or badge numbers are
20    affixed to the officers’ uniforms or helmets” to make the information more visible.
21       The Justice Department has also previously played an Important role in
22    making sure that police departments meet accountability standards for
23    displaying identifying information. In 2014, it criticized the Ferguson Police
24    Department for reports of officers having failed to wear nameplates, which
25    emerged as part of an investigation into the police department “for an alleged
26
      pattern or practice of unlawful misconduct.” The investigation was triggered in
27
      part by the killing of Michael Brown, an African American man, by a white
28                                            PAGE 13
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1
      police officer. A Justice Department letter sent to Ferguson police explained
2
      that “[o]fficers wearing name plates while in uniform is a basic component of
3
      transparency and accountability. … Allowing officers to remain anonymous
4
      when they interact with the public contributes to mistrust and undermines
5
      accountability. The failure to wear name plates conveys a message to
6
      community members that, through anonymity, officers may seek to act with
7
      impunity.” Requirements that officers introduce themselves by name and rank
8
      as soon as practicable during investigatory and noncustodial stops was also part
9
      of the consent decree between the City of Ferguson and the Department of
10
      Justice, which was entered into in March 2016 in the wake of the Justice
11

12
      Department’s investigation. The new guidelines were intended to promote the

13    police department’s efforts at community policing. Even prior to the consent

14    decree, municipal law in Ferguson required that officers “wear the regulation

15    uniform while on duty” and a nameplate was part of that regulation uniform.

16    20. I am informed and believe that Officer Bates stated, “Does not have a

17       business card with name on it.” Officer added words to vehicle code 27315I

18       VC, even to his Sergeant, Said, “Section 27315I says MUST have a “FACTORY

19       installed seatbelt???” -Sergeant trusted his fellow officer’s words to support
20       Officer Bates’ misquoted words. This is an abuse of duty by Officer Bate’s
21       authority and expertise. This is a willful act of abuse of power to act as a
22       judge and the jury, without any code written words or letter of the law, to
23       back up his false claim!
24       27315I Vehicle Code: “I A person 16 years of age or over shall not be a
25    passenger in a motor vehicle on a highway unless that person is properly
26
      restrained by a safety belt. This subdivision does not apply to a passenger in a
27

28                                          PAGE 14
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                                          ID #:1007


1
      sleeper berth, as defined in subdivision (x) of Section 1201 of Title 13 of the
2
      California Code of Regulations.”
3
      21. I am informed and believe that Exhibit #2 Weight Receipt “County of San
4
         Bernardino SOLID WASTE MANAGEMENT DIVISION. Transaction #520932116
5
         6/27/23 loc 52/ Heaps Peak. Time in 12:09 pm. Origins 739 Lake Arrowhead Ca
6
         92352. Trans Type: 120 Land Use. Weight Net: 2,240 lbs. (1.12 tons) That’s a lot
7
         of trash! Both officers were informed that plaintiff had just left the Running
8
         Springs Dump, after dumping trash. (Solid waste removal) Even after being
9
         informed that, and knowing Plaintiff’s business card says, “Hauling” which
10
         would exempt plaintiffs from even using seatbelts, still stubbornly gave seat
11

12
         belt ticket. “Garbage truck drivers, & persons who work frequently entering &

13       leaving vehicle”. Exhibit #2–Yet Sergeant knew we dumped trash, as printed

14       on our business card in neon orange; that he had when Macy’s had worked

15       for him previously.

16       22. California Code, Vehicle Code - VEH § 27315 current.

17       “(o) This section does not apply to a driver actually engaged in the collection

18    of solid waste or recyclable materials along that driver’s collection route if the

19    driver is properly restrained by a safety belt prior to commencing and
20    subsequent to completing the collection route.” (If driver does not need a
21    seatbelt, why would co-worker need a seatbelt in a trash truck?)
22                There was no probable cause to check to see if a seatbelt was

23    being used or not, out of site lap belt.
24
                   The traffic stop has to be short, though. Was over 1+ hour.
25
                   California Code, Vehicle Code - VEH § 27315
26

27

28                                           PAGE 15
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1                       (e) A person 16 years of age or over shall not be a passenger in a
2
      motor vehicle on a highway unless that person is properly restrained by a safety
3
      belt. This subdivision does not apply to a passenger in a sleeper berth, as
4

5     defined in subdivision (x) of Section 1201 of Title 13 of the California Code of

6     Regulations.
7
                        (o) This section does not apply to a driver actually engaged in the
8
      collection of solid waste or recyclable materials along that driver's collection
9

10    route if the driver is properly restrained by a safety belt prior to commencing and
11
      subsequent to completing the collection route. (not reasonable to expect that if
12
      a driver does not need a seatbelt, that a passenger does need a seatbelt?
13

14    Garbage trucks even have 2 workers hanging off the back of the truck with no

15    seatbelt all over the usa)
16
      ---------------------------------------------------------------------------------------------------------------------
17
      ---------------------
18

19                 Seat Belt Laws in California? https://www.dmv.org/ca-
      california/safety-laws.php
20
                        Vehicles must contain properly functioning seat belts.
21

22                      Agency of Transportation Department of Motor Vehicles [Federal

23    above Calif laws]
24
      --------------------------------------------------------------------------------------------
25
      -----------------------------------
26

27                      Safety Belts 23 V.S.A. § 1259. Safety belts; persons age 18 and over

28                                                         PAGE 16
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1                   (2) the person is a driver or passenger frequently stopping and
2
      leaving the motor vehicle or delivering property from the motor vehicle, if the
3
      speed of the motor vehicle between stops does not exceed 15 miles per hour;
4

5     --------------------------------------------------------------------------------------------

6     ----------------------------------
7
                    (2018 Isuzu npr truck uses lap belt type 1 for interior bench seat
8
      passengers)
9

10                  FEDERAL MOTOR VEHICLE SAFETY STANDARDS –higher law than Calif
11
      law.
12
                    49 CFR § 571.209 - Standard No. 209; Seat belt assemblies
13

14    (c) Attachment hardware.

15
         (1) Eye bolts, shoulder bolts, or other bolt used to secure the pelvic
16           restraint of seat belt assembly to a motor vehicle shall withstand a force of
17
             40,034 N when tested by the procedure specified in S5.2(c)(1), except that
             attachment bolts of a seat belt assembly designed for installation in
18           specific models of motor vehicles in which the ends of two or more seat
19           belt assemblies cannot be attached to the vehicle by a single bolt shall
             have breaking strength of not less than 22,241 N.
20
         (pelvic- means lap only requirement- 2 point seatbelt (type 1) is only
21

22    requirement)

23    Type 1 seat belt assembly is a lap belt for pelvic restraint. 49 CFR § 571.209 (g)
24
      Adjustment.
25
         (1) A Type 1 or Type 2 seat belt assembly shall be capable of adjustment to fit
26

27       occupants whose dimensions and weight range from those of a 5th-

28                                               PAGE 17
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1        percentile adult female to those of a 95th-percentile adult male. The seat
2
         belt assembly shall have either an automatic-locking retractor, an
3
         emergency-locking retractor, or an adjusting device that is within the reach
4

5        of the occupant.

6        (2) A Type 1 or Type 2 seat belt assembly for use in a vehicle having seats that
7
         are adjustable shall conform to the requirements of S4.1(g)(1) regardless of
8
         seat position. However, if a seat has a back that is separately adjustable, the
9

10       requirements of S4.1(g)(1) need be met only with the seat back in the
11
         manufacturer's nominal design riding position.
12

13
                                California Code, Vehicle Code - VEH § 27318
14

15       At a minimum, the law states that the seatbelt must be a lap belt that crosses

16       a person’s upper thighs and hips.
17
                     (e)(1) For purposes of this section, “acceptably restrained by a
18
         safety belt” means all of the following:
19

20                   (A) The latch plate is securely fastened in the buckle.
21
                     (B) The lap belt shall be adjusted to fit low and tight across the
22
         hips or upper thighs, not the stomach area.
23

24    Federal Motor Carrier Safety Administration (FMCSA), DOT. established within the
      Department of Transportation on January 1, 2000, pursuant to the Motor Carrier
25
      Safety Improvement Act of 1999 (49 U.S.C. 113).
26
      2012 amendment to the 1984 Act requires FMCSA to ensure that CMV drivers are
27    not coerced to violate certain provisions of the FMCSRs (sec. 31136(a)(5)).

28                                           PAGE 18
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1     Coercion is now prohibited by 49 CFR 390.6. Given the obvious value of this final
2     rule and the ease of compliance, the Agency believes that no one will be
      coerced not to wear a seat belt.
3
      A. Compliance Responsibilities
4
      Comments: Three commenters opposed imposing a new responsibility on drivers
5
      to ensure passenger compliance with a seat belt regulation. An individual
6     stated that neither the motor carrier nor the driver should be responsible for
      requiring passengers to use the seat belts, and mentioned that drivers deal with
7
      many other regulations already. Both ATA and Werner stated that a motor
8     carrier could not and should not be responsible for the use of safety belts in
      CMVs, as they have no practicable way to monitor it.
9

10    23. I am informed and believe that Officer Bates was fishing for a reason to give
11       “click-it-or-ticket” seatbelt violation ticket to gain money, based on suspicion
12       out of view by Officer Bates being parked on the other side of the road. On
13       his… “Possibility that there was not a seatbelt present”? Yet ticket even says
14       “…secured by a non-factory equipped seat belt” –Word for word from
15       Officer Bates. “Opportunities for Law Enforcement to harass minority groups”
16       (St. Lois et. Al, 2011) –This can be against a race, religion or any targeted
17
         type, including people with criminal records. Jeff Macy had already filed a
18
         Federal Lawsuit against San Bernardino County. Seemed like a suspiciously
19
         targeted stop.
20
      24. I am informed and believe that (Exhibit # History TBD) plaintiffs are still waiting
21
         for Public Records request incident reports from said Highway Patrol. HWY
22
         patrol has refused to give us their video recording from their car! They ask for
23
         my video evidence and have still not come to get it. History: 1-2 years ago,
24
         Highway patrol illegally towed same exact truck. A Highway patrol officer
25
         lied writing ticket that Macy’s Isuzu box truck was blocking a private road &
26
         blocking a fire hydrant. Was another false ticket (Plaintiff has photo of truck
27

28                                            PAGE 19
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1
         position showing past the 15’ side legal requirement. A Highway Patrol Officer
2
         willingly lied, assumed to continue harassing Jeff Macy and get money
3
         through fake fines injustice, illegal. On appeal was found again, Jeff Macy
4
         was correct, it was not a violation or valid ticket. Being another error
5
         (intentional police misconduct) ticket was dropped, costing Mr. Macy
6
         thousands of dollars to get work truck out of impound. Highway Patrol had
7
         truck towed all the way out of San Bernardino County to Hesperia, CA.
8
         (Another violation of Federal law). Truck should not have been towed by
9
         Highway Patrol’s command from the side of the road; a private property on
10
         a private road. Other times looked like the same officer of Highway Patrol
11

12
         was driving around my neighborhood for no reason. Also slowed down stared

13       at plaintiffs for no reason, as if looking to stop plaintiffs again for doing

14       nothing wrong. Next year Highway Patrol pulled over Jeff Macy for suspicion

15       of not have a seatbelt for 4th passenger. After inspection seeing 4th legal

16       safe seatbelt, said plaintiffs were ok and free to leave. (Wasted 15 minutes of

17       plaintiffs lives for Officer’s fishing expedition). Mr. Macy left without further

18       incident. Other times Highway Patrol’s come out, driven up plaintiff’s private

19       road “Augusta Way” asking plaintiff questions about plaintiff’s vehicle parked
20       on the side of plaintiff’s own property. This is a clear pattern of illegal
21       harassment.
22    25. I am informed and believe that Exhibit #3 CPRA Request Letter. Jeff Macy
23       has request numerous times for documents and the recording from Highway
24       Patrol’s local office, dispatch & directly through public records request office
25       locally and Sacramento. Any infractions/incidents/reports/driving on Augusta
26
         Way, Lake Arrowhead, CA or tickets to “Jeffrey Macy” by highway patrol or
27
         traffic stops from the last 10 years. (1 Example request not fulfilled).
28                                            PAGE 20
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1
         San Bernardino County Public Request #23-3765 (Running Springs Ca
2
         Highway Patrol)
3
      26. I am informed and believe that Mr. Macy alleges Running Springs, CA.
4
         Highway Patrol is actively covering up &/or failing to follow the 10-day Legal
5
         requirement to disclose and provide said documents. Only response Mr.
6
         Macy has received was a letter on April 07, 2023 file # 801.13318.a14522.
7
         Which just repeated the requests plaintiff asked for from Highway Patrol
8
         numerous times; for evidence of suspicion of crimes/cover-up/negligence by
9
         Burrtec/Highway Patrol. Plaintiff had called the office & mailed back a
10
         response saying, YES, give me the evidence requested already to Highway
11

12
         patrol by D.J. Minor, Chief’s confirmation of request.

13    27. I am informed and believe that plaintiffs have been 100% cooperative,

14       peaceful at all times, and have provided all documents requested during

15       illegal traffic stop. (Driver’s License, Registration & Proof of insurance- all valid,

16       up to date)

17    28. I am informed and believe that (Plaintiffs have HD video/audio of clear

18       recording of illegal traffic stop, which started after realizing Officer was not

19       going to let plaintiffs go home). All accusations are true based on Plaintiff’s
20       video recording and 4 adult Macy witnesses. Traffic infraction ticket hopefully
21       will get dismissed soon. Plaintiffs have the right & just to file Federal Lawsuits
22       against said Officers, and Running Springs Highway Patrol for: gross
23       negligence, civil rights violations, harassment, government invasion of
24       privacy, emotional distress (1871 (42 § 1983), illegal detainment, false arrest,
25       cover-up; forcing citizens to have to go to out of area (Lake Arrowhead, San
26
         Bernardino, CA to far away Fontana, CA to contest/appear/appeal; against
27
         right to a trial by own peers (own area [Lake Arrowhead, CA, San Bernardino
28                                            PAGE 21
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1
         County.] plaintiffs live in), not even in the same Town (Fontana, CA). 50-
2
         minute drive down the hill in a car, If no traffic.
3
                                     FIRST CAUSE OF ACTION
4
                                        UNLAWFUL TICKET
5
      (By Plaintiff Against California Highway Patrol Running Springs, Christopher Bates)
6
      29. Plaintiff hereby re-alleges and incorporates by this reference, as though set
7
         forth in full, the allegations in paragraph 1 through 28, inclusive.
8
      30. Defendant had known plaintiffs were a trash service, & were informed left
9
         Running Springs Dump not far away had just dumped trash. Even after
10
         knowing their business card “hauling” which officer Jeffrey O’Brien had been
11

12
         given previously when hired same Macy family still didn’t dismiss ticket

13       citation.

14    31. “(o) This section does not apply to a driver actually engaged in the collection

15       of solid waste or recyclable materials along that driver’s collection route if

16       the driver is properly restrained by a safety belt prior to commencing and

17       subsequent to completing the collection route.”

18    32. Also: §220 (5) Subsection (4) does not apply to a person:

19    33. “(c) who is actually engaged in work that requires him or her to alight from
20       and re-enter the motor vehicle at frequent intervals and who, while engaged
21       in that work, does not drive or travel in that vehicle at a speed exceeding 40
22       km/h,”
23    34. Weight Receipt “County of San Bernardino SOLID WASTE MANAGEMENT
24       DIVISION.
25    35. Transaction #520932116 6/27/23 loc 52/ Heaps Peak. Time in 12:09 pm. Origins
26
         739 Lake Arrowhead Ca 92352. Trans Type: 120 Land Use. Weight Net: 2,240 lbs
27
         (1.12 tons) Å That’s a lot of trash!
28                                              PAGE 22
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1
      36. Defendant Officer Bates was fishing for a reason to give “click-it-or-ticket”
2
         seatbelt violation ticket to gain money, based on suspicion out of view by
3
         Officer Bates parked on the other side of road. On his… “Possibility that there
4
         was not a seatbelt present”? Yet ticket even says “…secured by a non-
5
         factory equipped seat belt” ÅWord for word from Officer Bates.
6
      37. “Opportunities for Law Enforcement to harass minority groups” (St. Lois et. Al,
7
         2011) –This can be against a race, religion or any targeted type, including
8
         people with criminal records. Plaintiff Jeff Macy had already filed a Federal
9
         Lawsuit against San Bernardino County connected with exact Running
10
         Springs Highway Patrol for refusing to check SB County waste management
11

12
         trash trucks “Burrtec”, contracted with SB County. Seems like another

13       suspicious targeted stop and false ticket.

14    38. History: 1-2 years ago, Highway patrol illegally towed same exact truck.

15       Highway patrol officer lied writing ticket that Macy’s Isuzu box truck was

16       blocking a private road & blocking a fire hydrant. This was another false

17       ticket (we had photo evidence of truck position showing that it was past the

18       15’ side legal requirement. Highway Patrol officer willingly lied, assumed to

19       continue harassing Plaintiff Jeff Macy and get money through fake fines. On
20       appeal was found again that Plaintiff Jeff Macy was correct, no violations, or
21       valid ticket. Being another error (intentional police misconduct), the ticket
22       was dropped. It cost Mr. Macy thousands of dollars to get work truck out of
23       impound. Same Highway Patrol had truck towed all the way out of San
24       Bernardino County to Hesperia California. (Another violation of Federal law).
25       Truck should not have been towed by Highway Patrol command from the
26
         side of the road; a private property on a private road. Other times looked like
27
         same officer of Highway Patrol was driving around my neighborhood for no
28                                           PAGE 23
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1
         reason. Slowed down stared at us for no reason, as if looking to stop us again
2
         for doing nothing wrong. Next year Highway Patrol pulled over Plaintiff Jeff
3
         Macy for suspicion of not have a seatbelt for 4th passenger. After inspection
4
         seeing 4th legal safe seatbelt, said we were ok and free to leave. (Wasted 15
5
         minutes of our lives for his fishing expedition). Mr. Macy left without further
6
         incident. Other times Highway Patrol came out, drove up plaintiff’s private
7
         road “Augusta Way” asking questions about my vehicle parked on the side
8
         of my own property. This is a clear pattern of illegal harassment and abuses
9
         towards Plaintiff and family. Yet Defendants Highway Patrol refused to tow an
10
         abandoned RV that was obstructing our roadway.
11

12
      39. Defendant Officer Bates is not an expert in Federal Law to overrule Federal

13       Judge decisions about factory or non-factory seatbelts, or 2-3 point

14       seatbelts.

15    40. Officer Bates showed gross negligence by misquoting and adding words to

16       vehicle code 27315(e) VC, even to his Sergeant, Said, “Section 27315(e) says

17       MUST have a “FACTORY installed seatbelt???” -Sergeant trusted his fellow

18       officer’s words to support Officer Bates misquoted words. This is an abuse of

19       duty by Officer Bate’s authority and expertise to give plaintiffs a false ticket to
20       get more money. This is a willful act of abuse of power to act as a judge and
21       the jury, without any code written words or letter of the Law, to back up
22       Highway Patrol’s unlawful ticket!
23    41. FEDERAL MOTOR VEHICLE SAFETY STANDARDS –higher law than Calif law.
24

25    42. 49 CFR § 571.209 - Standard No. 209; Seat belt assemblies
26
      43. (c) Attachment hardware.
27

28                                           PAGE 24
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1
      44. Eye bolts, shoulder bolts, or other bolt used to secure the pelvic restraint of
2
         seat belt assembly to a motor vehicle shall withstand a force of 40,034 N
3
         when tested by the procedure specified in S5.2(c)(1), except that
4
         attachment bolts of a seat belt assembly designed for installation in specific
5
         models of motor vehicles in which the ends of two or more seat belt
6
         assemblies cannot be attached to the vehicle by a single bolt shall have
7
         breaking strength of not less than 22,241 N.
8
      45. (pelvic- means lap only requirement- 2-point seatbelt (type 1) is only
9
         requirement)
10
      46. Type 1 seat belt assembly is a lap belt for pelvic restraint.
11

12
      47. 49 CFR § 571.209 (g) Adjustment.

13    48. (1) A Type 1 or Type 2 seat belt assembly shall be capable of adjustment to fit

14       occupants whose dimensions and weight range from those of a 5th-

15       percentile adult female to those of a 95th-percentile adult male. The seat

16       belt assembly shall have either an automatic-locking retractor, an

17       emergency-locking retractor, or an adjusting device that is within the reach

18       of the occupant.

19    49. (2) A Type 1 or Type 2 seat belt assembly for use in a vehicle having seats that
20       are adjustable shall conform to the requirements of S4.1(g)(1) regardless of
21       seat position. However, if a seat has a back that is separately adjustable, the
22       requirements of S4.1(g)(1) need be met only with the seat back in the
23       manufacturer's nominal design riding position.
24    50. California Code, Vehicle Code - VEH § 27318
25    51. At a minimum, the Law states that the seatbelt must be a lap belt that
26
         crosses a person’s upper thighs and hips.
27

28                                            PAGE 25
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1
      52. (e)(1) For purposes of this section, “acceptably restrained by a safety belt”
2
         means all of the following:
3
      53. (A) The latch plate is securely fastened in the buckle.
4
      54. (B) The lap belt shall be adjusted to fit low and tight across the hips or upper
5
         thighs, not the stomach area.
6
      55. Federal Motor Carrier Safety Administration (FMCSA), DOT. established within
7
         the Department of Transportation on January 1, 2000, pursuant to the Motor
8
         Carrier Safety Improvement Act of 1999 (49 U.S.C. 113).
9
      56. 2012 amendment to the 1984 Act requires FMCSA to ensure that CMV drivers
10
         are not coerced to violate certain provisions of the FMCSRs (sec. 31136(a)(5)).
11

12
         Coercion is now prohibited by 49 CFR 390.6. Given the obvious value of this

13       final rule and the ease of compliance, the Agency believes that no one will

14       be coerced not to wear a seat belt.

15    57. A. Compliance Responsibilities

16    58. Comments: Three commenters opposed imposing a new responsibility on

17       drivers to ensure passenger compliance with a seat belt regulation. An

18       individual stated that neither the motor carrier nor the driver should be

19       responsible for requiring passengers to use the seat belts, and mentioned that
20       drivers deal with many other regulations already. Both ATA and Werner
21       stated that a motor carrier could not and should not be responsible for the
22       use of safety belts in CMVs, as they have no practicable way to monitor it.
23    59. Plaintiffs allege that law enforcement officials must have a valid reason for
24       issuing a ticket, & that the ticket be based on a reasonable suspicion or
25

26
         probable cause. Plaintiffs allege this is a violation of fourth amendment rights.
27

28                                           PAGE 26
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1
      60. Plaintiffs also claim attorney fees and costs pursuant to 42 U.S.C. § 1988 under
2
         this claim for relief.
3
                                   SECOND CAUSE OF ACTION
4
                                   SEVERE EMOTIONAL DISTRESS
5
      (By Plaintiff Against California Highway Patrol Running Springs, Christopher Bates,
6
                                          Jeffrey O’Brien.)
7
      61. Plaintiff hereby re-alleges and incorporates by this reference, as though set
8
         forth in full, the allegations in paragraph 1 through 60, inclusive.
9
      62. Defendants “abused a position of authority”, Plaintiff’s will never trust
10
         Highway Patrol again out of great fear. Plaintiff was extremely worried during
11

12
         the traffic stop which is why Plaintiff was filming for Plaintiff’s safety. Plaintiff

13       was told “Not allowed to record during his (highway patrol officer) traffic

14       stop”. Plaintiff was told to stop filming the stop. Highway Patrol claimed they

15       can pull Macy’s over any time for “Suspicion of a crime”. Lap belts cannot

16       be seen from Highway Patrol vehicles, so they guess if lap belts are

17       connected/secured or not and harass us constantly. Jeff Macy makes sure

18       he has witnesses with him whenever he drives around now, for fear of

19       Highway Patrol abuses of power! (witnesses to record for his safety)
20    63. Defendants had already known Plaintiff was “particularly vulnerable to
21       emotional distress”. Plaintiff Jeff Macy had already filed a Federal Lawsuit,
22       alleging Highway Patrol; for covering up and failing to inspect County Trash
23       trucks brakes, safety, smog damaging our private roads, “Burrtec-waste
24       management” (Our competition) We had already requested public records
25       request many times and they refuse to cooperate or comply with-in 10 day
26
         law to prove documents (evidence). We have gotten 0 to this day over 1
27
         year.
28                                             PAGE 27
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1
      64. Defendants, “knew that their conduct with likely result in emotional harm”.
2
      65. When defendant Officer Bates detained during traffic stop holding Jeff
3
         Macy’s driver’s license for over 1 hour, standing in the hold sun never to traffic
4
         it would cause worry, fear, emotional harm. =/ 3 Macy kids worried if their
5
         Dad could be arrested; especially when Officer O’Brien ordered Dad to put
6
         his phone down. (Usually when a Patrol Officer tells suspect to put things
7
         down they arrest them) 2 Patrol Officers with guns’ surround vs 56 yr. old Jeff
8
         Macy. Officer O’Brian orders Jeff Macy cannot ask questions or investigate.
9
         Officer Bates with his Officer name tag folded over on uniform. Refused to
10
         identify himself, was the scariest Cop ever known to Jeff Macy. Never seen a
11

12
         Police Officer completely hide his name and badge number. Also refused to

13       verbally give his name. Refused to read the vehicle citation code out loud;

14       knowing Jeff Macy sold cars before; knew the vehicle codes had no violation

15       under this section or accusation in existence. Officer Bates maliciously

16       “reckless disregard” was turning pages threw his Vehicle codes thick book,

17       to try and fish for some kind of violation; that is why a simple traffic stop took

18       over 1+ hour. Defendants, “Gave little or no thought to the probable effects of

19       their conduct.” (Over 1-hour evil fishing through DMV book to look for a
20       violation somewhere without finding 1)
21    66. Plaintiffs are informed and believes and thereon alleges that Defendants’
22       actions described in this Complaint were intentional, extreme, and
23       outrageous.
24    67. Plaintiffs are further informed and believes and heron alleges that such
25       actions were done with intent to cause serious emotional distress and were
26
         done with reckless disregard of the probability of causing Plaintiffs serious
27
         emotional distress.
28                                           PAGE 28
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1
      68. The conduct of the Defendants was despicable, abuse of power, abuse of
2
         authority, oppressive, and accomplished with a conscious disregard for
3
         Plaintiff Jeff Macy’s rights.
4
      69. Defendants Christopher Bates, Jeffrey O’Brien violated Plaintiffs Macy’s
5
         federal civil rights, 1st Amendment right to record the police. Defendants
6
         armed with guns did not allow Plaintiff Jeff Macy to continue recording,
7
         under duress, threat of arrest. Jeff Macy complied with Officer’s order to stop
8
         recording during defendant’s traffic detainment stop. Josiah Macy took over
9
         recording.
10
      70. Plaintiffs also claim for compensatory damages and punitive damages;
11

12
         attorney fees and costs pursuant to 42 U.S.C. § 1988 under this claim for relief.

13       Defendants are allowed to recover punitive damages in California in cases

14       of recklessness and intentional wrongdoing.

15    71. Plaintiffs also claim attorney fees and costs pursuant to 42 U.S.C. § 1988 under

16       this claim for relief.

17                                   THIRD CAUSE OF ACTION

18                                        ENDANGERMENT

19            (By Plaintiff Against Officers Christopher Bates and Jeffrey O’Brien)
20    72. Plaintiff hereby re-alleges and incorporates by this reference, as though set
21       forth in full, the allegations in paragraph 1 through 71, inclusive.
22    73. Defendant Sergeant Officer O’Brien took over the traffic stop and showed up
23       in a separate car.
24    74. Defendants endangered Plaintiffs by having everyone get out of the vehicle
25       on a high-speed Highway 18 for suspicion of non-factory seatbelt. Suspicion is
26
         not probable cause. Plaintiffs would never stand by Highway 18, especially
27
         since the place Plaintiffs were pulled over at, is right next to a high school
28                                             PAGE 29
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1
         where teenagers have just gotten their licenses and are still learning how to
2
         drive.
3
      75. There was great risk of bodily harm and the other side of Highway 18 is a cliff
4
         edge. It’s common knowledge for law enforcement agencies not to have
5
         citizens stand by highways. Patrol is trained to always pull suspects over at
6
         safe locations out of harm’s way. The Officers should have had Plaintiffs pull
7
         off the highway in a safe location.
8
      76. Plaintiff Jeff Macy was not allowed to record Defendants, as shown at
9
         around 4:55 of this video:
10
         https://www.youtube.com/watch?v=GvmaMonuPeo. Plaintiff Jeff Macy was
11

12
         forced to comply and have Plaintiff Josiah Macy take over recording out of

13       fear of Defendants gun and taser, two Officers surrounded Plaintiff

14       Jeff Macy.

15    77. Defendant Officer O’Brien would not allow Plaintiff Jeff Macy to conduct

16       own investigation or ask questions. Plaintiff’s First Amendment rights were

17       violated.

18    78. Defendant Officer Bates refused to identify himself numerous times. Patrol

19       Bates arrived with name already folded over Defendant’s shirt to hide
20       Defendant’s nametag. As the supervisor on duty, Defendant sergeant Officer
21       O’Brien would not enforce Defendant Officer Bates to display Defendant’s
22       badge either when Jeff Macy asked him to help get Officer
23       Bates I.D.
24    79. Defendants had no warrant, probable cause to do an unreasonable search
25       of plaintiff’s vehicle. As shown at 11:11 of Defendant Officer Bates entering
26
         Isuzu trash truck in this video:
27
         https://www.youtube.com/watch?v=GvmaMonuPeo.
28                                           PAGE 30
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1
      80. As a result of the conduct of Defendants, they are liable because they were
2
         integral participants in the wrongful entry and inspection or because they
3
         failed to intervene to prevent these violations.
4
      81. By reason of the aforementioned endangerment caused by Defendants,
5
         Plaintiff incurred damages in the form of emotional injuries & emotional
6
         distress, all of which are continuing and damaging. Plaintiff’s actual
7
         damages will be ascertained at trial.
8
      82. Plaintiffs also claim attorney fees and costs pursuant to 42 U.S.C. § 1988 under
9
         this claim for relief.
10
                                     FOURTH CAUSE OF ACTION
11

12
                                             COVER UP

13    (By Plaintiff Against California Highway Patrol Running Springs, Christopher Bates,

14                                Jeffrey O’Brien, and Does 1 to 10)

15    83. Plaintiff hereby re-alleges and incorporates by this reference, as though set

16       forth in full, the allegations in paragraph 1 through 82, inclusive.

17    84. Defendants are actively covering up or failing to follow the PRA 10-day legal

18       requirement to disclose and provide video footage 4 total; 2 body camera’s

19       & 2 Patrol car video’s, incident report, or written testimony. San Bernardino
20       Public records request number 23-3765 received June 28th 2023 via web. (Also
21       drove to exact Running Springs Highway Patrol office in person on July 3rd,
22       2023. Stamped “received” with complaint form CHP 240b against said
23       officers. Also to Sacramento public records division of Highway patrol.
24       Plaintiffs made a public records request to 3 different places and have
25       received nothing back. Plaintiffs have already complied with giving
26
         Defendants Macy’s video evidence on USB and web links for a swap, but
27
         have received no video from Highway Patrol back.
28                                             PAGE 31
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1
      85. Defendants’ higher ups did not dismiss the ticket even after seeing legal facts
2
         and video, so they could cover up the UNLAWFUL ticket. Plaintiffs have not
3
         received 1 call or letter stating outcome from internal affairs about
4
         complaint. Plaintiffs have requested a meeting with the Lieutenant, but
5
         Defendants always cover it up and say the Lieutenant is on vacation or
6
         undergoing training.
7
      86. For the good of the community, anyone that is involved in this cover up and
8
         widespread corruption should be retrained, suspended or fired.
9
      87. Ignorance is not above the law, as police would tell you when writing a fine
10
         or ticket or arrest; but when police do something wrong, they allowed cover
11

12
         it up, delete video evidence? Defendants swore an oath and a promise to

13       serve the community, not to extort money from, “We the people”. The

14       constitution was written to protect “we the people” from the police. Where is

15       our “taxation without representation”? Who is the mediator between “we the

16       people” and the Government Highway Patrol?

17    88. Defendant’s authorities to the best of our knowledge has failed to do any

18       and all investigations or resolutions to this day!

19    89. Plaintiffs are still requesting 4 videos; the Defendants 2 body cameras with
20       video and audio and the Defendants 2 vehicle cameras with video and
21       audio. No Public Records Requests have been fulfilled by the Highway Patrol
22       or 3 agencies as legally required. Plaintiffs were not given videos for the trial
23       that Plaintiffs won against Highway Patrol. Self-evident of cover up to try and
24       lie & deceive the court at trial, that Plaintiff’s Macy’s won at trial.
25       Highway Patrol Administration is still not cooperating with investigation or
26
         providing public records requests; Police are not above the Law.
27

28                                            PAGE 32
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1
      90. Does 1-10 Officer Gonzales was very rude and pressing buttons on the phone
2
         to make buzzer sounds, & hung up the phone on Plaintiff Jeff Macy; while
3
         investigating why Police are not proving public requests 4 video’s, evidentiary
4
          documents.
5
      91. Does 1-10 Ashley Watson hung up the phone on Plaintiff Jeff Macy to help
6
         cover up for the Defendants; while investigating why Police are not proving
7

8        public requests 4 video’s, evidentiary documents.

9
      92. Does 1-10 Gibson Dave has not called back or given audio and video
10
         recordings of Defendants Officer Bates and O’Brien’s body cameras and
11
         vehicles.
12
      93. Plaintiffs also claim attorney fees and costs pursuant to 42 U.S.C. § 1988 under
13
         this claim for relief.
14
                                      FIFTH CAUSE OF ACTION
15
      GROSS NEGLIGENCE/FAILURE TO DO PUBLIC RECORDS REQUEST SAN BERNARDINO
16
       COUNTY PUBLIC REQUEST #23-3765 (RUNNING SPRINGS CA HIGHWAY PATROL)
17
      (By Plaintiff Against California Highway Patrol Running Springs, Christopher Bates,
18
                                  Jeffrey O’Brien, and Does 1 to 10)
19
      94. Plaintiff hereby re-alleges and incorporates by this reference, as though set
20
         forth in full, the allegations in paragraph 1 through 93, inclusive.
21

22
      95. Defendants violated Government Code (GC) sections 6250-6270 failure to

23       complete request within the 10 days to this day.

24    96. Defendants failed to do a public records request as requested by Plaintiff

25       multiple times.

26    97. Defendants have failed to provide incident reports, dashcam footage,

27       bodycam footage.

28                                             PAGE 33
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1
      98. Plaintiff has requested numerous times for documents as well as recordings
2
         from Highway Patrol. Defendants fail to follow the 10-day legal requirement
3
         to disclose and provide the documents as requested.
4
      99. Plaintiffs also claim attorney fees and costs pursuant to 42 U.S.C. § 1988 under
5
         this claim for relief.
6
                                       SIXTH CAUSE OF ACTION
7
                                  FOURTH AMENDMENT VIOLATIONS
8
      (By Plaintiff Against California Highway Patrol Running Springs, Christopher Bates,
9
                                          Jeffrey O’Brien)
10
      100.   Plaintiff hereby re-alleges and incorporates by this reference, as though
11

12
         set forth in full, the allegations in paragraph 1 through 99, inclusive.

13    101.   Defendants violated the Fourth Amendment by:

14                   (a) Unlawful Traffic Stop: Defendant Officer Christopher Bates

15                       lacked probable to detain Macy Family, said, “I stopped you

16                       for suspicion of non-factory installed vehicle seat belt!”.

17                       Violation of Fourth Amendment. §3.02 Presumption of

18                       Innocence; Proof Beyond a Reasonable Doubt. *Notice Officer

19                       Bates did not identify himself or his agency when 1st contacted
20                       commerical trash truck driver Jeff Macy. (Standard procedure-
21                       sketchy-impersonating a Police Officer?). Defendant’s ticket
22                       itself box says uensecure seatbelt, yet Bates admits that Macy’s
23                       seatbelts were secured, “Secured by a non-factory equipped
24                       seat belt”!
25                       Plaintiff allege California § 27315 VC (d) (2) states that to be
26
                         properly restrained by a safety belt that the lower lap part of
27
                         the belt crosses the hips. And 49 CFR 571.208 S4.1.1.2. (a) only
28                                            PAGE 34
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1
                     requires a lap belt protection system. (Shoulder belt part NOT
2
                     required by Law).
3
                  (b) Illegal Detainment: A police detention is a seizure of your
4
                     person. If it is unreasonable, it violates your Fourth Amendment
5
                     rights. If it violates the Fourth Amendment, it is an unlawful
6
                     traffic stop.
7
                     Defendants had no legal jusitification to restrict Plaintiff and
8
                     Plaintiff’s family freedom to leave.
9
                  (c) Unreasonable Search and Seizure: Defendants made an
10
                     unlawful police detention on suspicion of out-of-view no
11

12
                     seatbelt, yet officer said everyone had a secured seatbelt on!

13                   – “Unlawful police detention is when law enforcement, without

14                   legal justiciation, restricts yoru freedom to leave. Doing so

15                   constitutes a civil rights violation based on the Fourth

16                   Amendment. That amendment to the U.S. Constitution prohibits

17                   officers from conducting unreasonable searches or

18                   seizures.”

19                   Defendants violated Plaintiff’s Fourth Amendment to the
20                   Consitution. “The right of the people to be secure in their
21                   persons, houses, papers, and effects, against unreasonable
22                   searches and seizures, sh all not be violated, and no warrants
23                   shall issue, but upon porbably cause, supported by oath or
24                   affirmation, and particularly describing the place to be
25                   Searched, and the persons or things to be seized.” –Officer
26
                     entered plaintiff’s truck without permission and seized private
27
                     peroperty images without consent.
28                                         PAGE 35
     Case 5:23-cv-02245-RGK-BFM         Document 83 Filed 02/18/25      Page 36 of 265 Page
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1
                         Defendants had no warrant to do an unreasonable search of
2
                         plaintiff’s vehicle.
3
      102.    Plaintiff also claim attorney fees and costs pursuant to 42 U.S.C. § 1988
4
         under this claim for relief.
5
                                    SEVENTH CAUSE OF ACTION
6
                              SUPERVISORY LIABILITY (42 U.S.C. § 1983)
7
             (By Plaintiff Against California Highway Patrol Running Springs, Christopher
8
                              Bates, Jeffrey O’Brien, and Does 1 to 10)
9
      103.    Plaintiff hereby re-alleges and incorporates by this reference, as though
10
         set forth in full, the allegations in paragraph 1 through 102, inclusive.
11

12
      104.    Defendants California Highway Patrol Running Springs, Christopher Bates,

13       Sergeant Jeffrey O’Brien, and Does 1 to 10, deprived Plaintiffs of their rights

14       and liberties secured to them by the 4th and 14th Amendments to the United

15       States Constitution, in that said defendants and their supervising and

16       managerial employees, a agents, and representatives acting with gross

17       negligence and with reckless and deliberate indifference to the safety, rights,

18       and liberties of the public in general and of Mr. Macy, and of persons in his

19       class, situation and comparable position, in particular, knowingly maintained,
20       enforced and applied an official recognized custom,
21       policy and practice of:
22       Employing and retaining as California Highway Patrol Running Springs Officers
23    and other personnel, including Bates and O’Brien who Defendants California
24    Highway Patrol Running Springs and Does 1 to 10 at all times material
25

26

27

28                                              PAGE 36
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1
      herein knew or reasonably should have known had propensities for abusing their
2
      authority and for mistreating citizens by failing to follow written policies and
3
      customs;
4
         It is a persistent and widespread custom, procedure for law enforcement
5
      agencies and CHP, that when pulling over citizens, “Vehicles must be pulled
6
      over to a safe location, away from traffic” Dangerous highways, freeways have
7
      high vehicle speeds, that kill people standing on roadways. Especially near cliff’s
8
      (Literally pulled over not far from restaurant called, “The Cliff hanger”) or
9
      oncoming traffic. Defendants have engaged in unconstitutional conduct
10
      against Plaintiffs by violating Police training, knowing not to endanger citizens by
11

12
      having them get out of vehicles on roadways; without probable cause or

13    criminal suspicion emergency situations. Even then Police are supposed to block

14    traffic to ensure everyone safety (usually by using their Patrol Cruiser to block

15    traffic). Police are not allowed to get citizens out of their vehicle for an infraction

16    or simple traffic stop. CHP Running Springs Officers violated U.S. citizens Macy’s

17    Federal and Constitutional Rights, & Bill of Rights.

18       Supervisor Sergeant Officer O’Brien took over traffic stop, standard policy

19    and custom to take over when a supervisor shows up. Sergeant Officer O’Brien
20    started investigating, asking questions and told Plaintiff Jeff Macy not allowed to
21    record Defendants, as shown at around 4:55 of this video:
22    https://www.youtube.com/watch?v=GvmaMonuPeo.
23       Even after Jeff Macy told Supervisor (Watch commander) Sergeant Officer
24    O’Brien about the secured seatbelt; still did not stop the unlawful ticket from
25    being given. Supervisor Sergeant Officer O’Brien made no effort to help lookup
26

27

28                                            PAGE 37
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                                          ID #:1030


1
      Plaintiffs citation code when ask nicely (which says Macy’s did nothing wrong);
2
      instead covered up for personal friend Officer Bates & supported the unlawful
3
      ticket (Even after having stopped same truck before and said nothing was
4
      wrong for same allegation). Supervisor Sergeant Officer O’Brien told Plaintiffs
5
      that he knew Officer Bates as a personal friend. The UNLAWFUL TICKET trial at
6
      SUPERIOR COURT of California county of San Bernardino at: Fontana District
7
      17780 Arrow Boulevard Fontana, CA 92335 USA: $153.00, says,
8
         “…if fail to appear you may be arrested & punished by 6 months in jail and/or
9

10
      $1,000 FINE regardless of the original charge (§40508 Veh. Code [VC] or §853.7

11    Penal Code [PC]). In addition, any person who fails to appear as provided by

12    law may be deemed to have elected to have a trial by written declaration (in

13    absentia) pursuant to section 40903(a) VC upon any alleged infraction, as

14    charged by the arresting/citing officer.”

15       WHAT TO DO: “You are required to appear at court for a misdemeanor
16    violation. For all violations, your court date/time/place are on the front of this
17    notice to appear. Have the citation with you when contacting the court. In all
18    infraction cases, you must do one or more of the following for each violation: …If
19    you do not do one of the above actions, then a “failure to appear” charge will
20    be filed against you (§40508(a) VC) and your driver license may be withheld,
21
      suspended, or revoked. In some courts you may be charged an amount in
22
      addition to the bail amount and the case may be turned over to a collection
23
      agency (§1214.1 PC).”
24
         ÅSerious threats by Highway Patrol of our freedom & extortion.
25

26

27

28                                           PAGE 38
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                                           ID #:1031


1
         Citation Number: LQ30682 Case Number: 23IN-065744 was appealed
2
      successfully by the Macy’s proving their innocence of wrong doing during a 2-
3
      day trial was victorious proving all these false allegations were false
4
      imprisonment. Superior Court Judge dismissed citation.
5
         Inadequate supervision, training, controlling, assigning and disciplining
6
      California Highway Patrol Running Springs Officers & other personnel; including
7
      Defendants California Highway Patrol Running Springs Bates and O’Brien. Does 1
8
      to 10 each know or in the exercise of reasonable care should have known the
9
      aforementioned propensities and character traits;
10
         Maintaining grossly inadequate procedures for reporting, supervising,
11

12
      investigating, reviewing, controlling & disciplining the intentional conduct by

13    California Highway Patrol Running Springs Officers and other personnel,

14    including Bates, O’Brien, and Does 1-10 who are California Highway Patrol

15    Running Springs Officers;

16       Failing to adequately train California Highway Patrol Running Springs Officers

17    including Defendants Bates and O’Brien and failing to institute appropriate

18    policies regarding constitutional procedures and practices.

19    105.   Defendant Supervisor Sergeant Officer O’Brien, and Does 1 to 10, together
20       with various other officials whether named or unnamed, had either actual or
21       constructive knowledge of the deficient policies, practices, and customs
22       alleged in the paragraphs above. Despite having knowledge as stated
23       above these defendants condoned, tolerated, and through actions and
24       inactions thereby ratified such policies. Said defendants also acted with
25       deliberate indifference to the foreseeable effects and consequences of
26
         these policies with respect of the constitutional rights of Plaintiff.
27

28                                            PAGE 39
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1
      106.   By perpetrating, sanctioning, tolerating, and ratifying the outrageous
2
         conduct and wrongful acts, Defendants, including Officer Bates & Supervisor
3
         Sergeant Officer O’Brien, and Does 1 to 10, acted with intentional, reckless,
4
         and callous disregard for the safety and constitutional rights of Plaintiffs.
5
         Defendants California Highway Patrol Running Springs, Bates, O’Brien, and
6
         Does 1 to 10, and each of their actions were willful, wanton, oppressive,
7
         malicious, fraudulent, extremely offensive, and unconscionable to any
8
         reasonable person of normal sensibilities.
9
      107.   By reason of the aforementioned policies and practices of Defendants,
10
         Highway Patrol Office Administrators, including Officer Bates & Supervisor
11

12
         Sergeant Officer O’Brien, & Does 1 to 10, Plaintiffs incurred damages in the

13       form of lost money and emotional injuries, including, without limitation,

14       humiliation, all of which are continuing and damage to reputation. Plaintiffs

15       actual damages will be ascertained at trial.

16    108.   The policies, practices, and customs implemented and maintained & still

17       tolerated by Defendant Supervisor Sergeant Officer O’Brien, and Does 1 to

18       10, were affirmatively linked to and were significantly influential forces behind

19       the unlawful ticket harming Plaintiff.
20    109.   Plaintiffs also claim attorney fees and costs pursuant to 42 U.S.C. § 1988
21       under this claim for relief.
22                                  EIGHTH CAUSE OF ACTION
23                                         NEGLIGENCE
24    (By Plaintiff Against California Highway Patrol Running Springs, Christopher Bates,
25                              Jeffrey O’Brien, and Does 1 to 10)
26    110.   Plaintiff hereby re-alleges and incorporates by this reference, as though

27       set forth in full, the allegations in paragraph 1 through 109, inclusive.
28                                            PAGE 40
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1
      111.   Defendants were negligent, Officers are trained to not hold Plaintiffs on
2
         the side of a roadway/highway/freeway; for more than (1+) one plus hour
3
         endangering Plaintiffs. (freedom, interrogated, detained, can’t leave, go to
4
         bathroom, hospital, work, stand in hot sun)
5
      112.   Defendant Officer Jeffrey O’Brien was negligent. Officers know they have
6
         to be recordable, video/audio recorded; according to the first amendment.
7
         (Glik v. Cunniffe, 655 F.3d 78 (1st Cir. 2011)
8
      113.   Defendant Officer Christopher Bates was negligent. Officers know they
9
         cannot violate the fourth amendment rights as Officer Bates illegally jumped
10
         up into Plaintiffs truck, searching and seizing video evidence without
11

12
         consent.

13    114.   Defendants were negligent. Officers know their name tags

14       (identification)has to be clearly visible. Officer Christoper Bates had his name

15       tag folded over, cannot be seen. Officer Christopher Bates knows an officer

16       must have their name tag clearly visible. Supervisor Sergeant Officer Jeffrey

17       O’Brien when informed by Plaintiffs of the name tag problem; refused to

18       order his personal friend Officer Christopher Bates to unhide his

19       identification as his supervisor’s duty.
20    115.   Defendants were negligent. Officers know Officers need to identify
21       themselves. Officer Christopher Bates failed to identify himself as per Macy’s
22       video evidence & testimonies. Officer Christopher Bates failed to identify
23       himself numerous times. Jeff Macy asked and Officer Jeffrey O’Brien did not
24       force Officer Christopher Bates to identify himself. Doornbos v. City of
25       Chicago (2017)
26
      116.   By reason of the aforementioned negligence of Defendants, Plaintiff
27
         incurred damages in the form of emotional injuries & emotional distress, all of
28                                            PAGE 41
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                                            ID #:1034


1
         which are continuing and damaging. Plaintiff’s actual damaes will be
2
         ascertained at trial.
3
      117.    Plaintiffs also claim attorney fees and costs pursuant to 42 U.S.C. § 1988
4
         under this claim for relief.
5
                                        NINTH CAUSE OF ACTION
6
                                            CONSPIRACY
7
             (By Plaintiff Against California Highway Patrol Running Springs, Christopher
8
                              Bates, Jeffrey O’Brien, and Does 1 to 10)
9
      118.    Plaintiff hereby re-alleges and incorporates by this reference, as though
10
         set forth in full, the allegations in paragraph 1 through 117, inclusive.
11

12
      119.    1. Code enforcement, 2. California Highway Patrol, 3. Burrtec, 4. Waste

13       Management, 5. Public Works, 6. CSA 18 7. San Bernardino County Sheriff’s

14       Department are allegedly conspiring, targeting Jeff Macy’s religious Yeshua

15       Temple project with animus-based discrimination against their freedom of

16       religion. Governmental agencies are targeting Plaintiffs; religious nonprofit

17       Christians, conspiring with other government organizations to deprive Plaintiffs

18       of their civil rights and/or ability to build Holy Temple. Code Enforcement has

19       given egregious notices, & have trespassed on Macy’s Family private
20       property; with no warrants or court orders on Macy’s Mojave River Rd,
21       CedarPines Park Ca 36-acre private property. Public Works, CSA-18 has cut
22       down our cables at our religious private property. Burrtec private trash
23       company drives on our Augusta Way private road without permission. For
24       years has caused weight damage to Macy’s private road from excessive
25       weight from Burrtec trucks, which travel from County SWMD which is the
26
         County of San Bernardino’s Solid Waste Management Division, that Waste
27
         Management has willingly allowed. Deputy Sheriff Officer Robert Maestas
28                                            PAGE 42
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                                          ID #:1035


1
         from San Bernardino County Sheriff’s Department, gave Plaintiff Jeff Macy an
2
         illegal ticket for picking up trash. Family put trash in Macy family trash truck,
3
         from own Macy’s private property. On Christmas evening, for a claim made
4
         a week earlier by an unknown neighbor said had verbal permission to report
5
         broken sign on our property as stolen trash? Deputy Sheriff Officer Robert
6
         Maestas said, “I didn’t want to give you a ticket, but captain made me do it,
7
         …don’t want to arrest you; but you will have to appear in court to contest it.”
8
         Jeff Macy, whole family present collecting trash testified to Officer it was
9
         trash in a trash pile on our private property, out of sight, no neighbors live in
10
         view of where we were picking up trash on Macy’s property. Macy’s had to
11

12
         worry, still had threat of going to jail for picking up trash that County Code

13       Enforcement said we had to do within 30 days. The ticket was dismissed by

14       the District Attorney. This was illegal detainment, & another example of

15       conspiracy & harassment being alleged. County Sheriff’s Department illegally

16       detained and ticketed Jeff Macy without any witness or suspects

17       identification procedure. Right to confront witness of false allegation. These

18       are all Law Enforcement agencies coordinated attacks against Macy’s free

19       Yeshua Temple project. Plaintiff gives out free non copyrighted bible to the
20       people 1611bible.us. Plaintiff is building a free temple for people.
21    120.   Legally, a Conspiracy exists when 2 or more persons join together and
22       form an agreement to violate the Law, & then act on that agreement.
23       Supervisor Officer Sergeant O’Brien told plaintiffs that he knew Officer Bates
24       as a friend personally. Supervisor Officer Sergeant O’Brien made no effort to
25       help the Plaintiff as expected; instead covered up for Officer Bates &
26

27

28                                           PAGE 43
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1
         supported the UNLAWFUL TICKET. The unlawful ticket was appealed, &
2
         Superior Court Judge agreed was in error & dismissed.
3
      121.   Plaintiff believe that Defendant Officer Bates was fishing for a reason to
4
         give “click-it-or-ticket” seatbelt violation ticket to gain money (extortion).
5
         Officer Bates had animus against Plaintiff Officer Bates’s name tag was
6
         folded over intentionally, refused to give Plaintiff Bates name, badge number
7
         or any other identification. Based on suspicion out of view by Officer Bates
8
         being parked on the other side of the road. On his… “Possibility that there
9
         was not a seatbelt present”? Yet ticket even says “…secured by a non-
10
         factory equipped seat belt” -Word for word from Officer Bates. “Opportunities
11

12
         for Law Enforcement to harass minority groups” (St. Lois et. Al, 2011) –This can

13       be against a race, religion, or any targeted type, including people with

14       criminal records. Plaintiff Jeff Macy had already filed a Federal Lawsuit

15       against San Bernardino County. Targeted stop. Plaintiff Jeff Macy had

16       already filed a Federal Lawsuit, alleging Highway Patrol; for covering up and

17       failing to inspect County Trash trucks brakes, safety, smog damaging our

18       private roads, “Burrtec-waste management” (Our competition) We had

19       already requested public records request many times and they refuse to
20       cooperate or comply with-in 10-day law to prove documents (evidence). We
21       have gotten 0 to this day over 1 year.
22    122.   Highway Patrol as an organization sends Officers out to extort money with
23       tickets to fill their quota. Highway Patrol did not help Macys at our religious
24       property to tow vehicles trespassing, but will tow Macy’s trash truck on a
25       private road. Highway Patrol has come out to our private road trying to
26
         record us splitting our own firewood on our private property. Highway Patrol’s
27
         motive is to defund us by religious discrimination, having known
28                                           PAGE 44
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1
         before that we are trying to build a religious Holy Temple, “Yeshua Temple”.
2
         Defendant Officer Bates pulled Plaintiffs over to extort money to harm
3
         Plaintiffs by giving Macy’s Family an illegal ticket, draining their resources, to
4
         further hinder their community “Yeshua Temple” project. Defendant Sergeant
5
         Officer O’Brien also showed up & conspired with his admitted on Macy’s & if
6
         we ever get 4 Highway Patrol’s videos; personal friend Officer Bates, by
7
         supporting the illegal traffic ticket. Yet Defendant Sergeant O’Brien
8
         Defendant had pulled over same Macy’s trash truck in Cedar Glen for same
9
         allegation (harassment) & after his investigation (Made Macy’s get out of
10
         trash truck, without probable cause) said, “The aftermarket seatbelt was
11

12
         properly installed and safe, your free to go”! Many Officer’s from Highway

13       Patrol Running Springs Ca have a harmful pattern of refusing to help Macy’s,

14       including Bates, O’Brien. At the Camp Yeshua Temple project, by refusing to

15       tow illegal abandoned parked vehicles, R.V. blocking their entrance to

16       Temple development. Another time Highway Patrol towed Macy family’s

17       same Isuzu trash truck illegally before, & tried to tow vehicles from Macy’s

18       Augusta Way private road. Officer Bate’s traffic stop on June 27 furthermore

19       established a pattern of targeted stops.
20    123.   Plaintiffs believe that Defendant Officer Bates was fishing for a reason to
21       give “click-it-or-ticket” seatbelt violation ticket to gain money, based on
22       suspicion out of view by Officer Bates being parked on the other side of the
23       road. On his… “Possibility that there was not a seatbelt present”? Ticket
24       written says “…secured by a non-factory equipped seat belt” –Word for word
25       from Officer Bates. “Opportunities for Law Enforcement to harass minority
26
         groups” (St. Lois et. Al, 2011) –This can be against a race, religion or any
27
         targeted type, including people with criminal records.
28                                           PAGE 45
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1
      124.   Defendants Highway Patrol is actively covering up &/or failing to follow
2
         the 10-day Legal requirement to disclose and provide said documents. Only
3
         response Plaintiff Mr. Macy received letter dated April 07, 2023 file #
4
         801.13318.A14522. which just repeated the requests plaintiff asked for from
5
         Defendant Highway Patrol numerous times; for evidence of suspicion of
6
         crimes/cover-up/negligence by Burrtec/Highway Patrol. Plaintiff had called
7
         the office & mailed back a response saying, YES, give me the evidence
8
         requested already to Highway patrol signed by D.J. Minor, Chief Inland
9
         Division confirmation of request. Letter came from California state
10
         Transportation Agency, Governor Gavin Newson letter head.
11

12
         125.      Plaintiffs also claim attorney fees and costs pursuant to 42 U.S.C. §

13       1988 under this claim for relief.

14    WHEREFORE, Plaintiffs pray judgment against Defendants as follows:

15       1. For compensatory damages of $1,000,000. if settled before trial:

16       2. For treble damages pursuant to the Bane Act;

17       3. For punitive damages on those claims where it is available pursuant to law

18           in an amount sufficient to punish, deter and make an example of the

19           Defendants;
20       4. For interest on those claims where it is available under law;
21       5. For an order awarding PLAINTIFFS their reasonable attorney’s fees as to
22           Plaintiffs civil rights claim pursuant to 42 U.S.C. § 1988, and Plaintiffs claim
23           under the Bane Act, including litigation costs and expenses;
24       6. For cost of suit; and
25       7. For such other and further relief as this Court may deem to be just and
26
             proper.
27
                                        DEMAND FOR JURY TRIAL
28                                             PAGE 46
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1
                           Plaintiffs hereby demands a trial by jury.
2

3
                                   Respectfully Submitted,
4
                         By Plaintiff: ______________________________________
5
                            Jeff Macy- 1611 Bible Law Translator.
6

7
                                                      Dated: ____________________
8

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28                                       PAGE 47
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                                      ID #:1040


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26
                                       Exhibit 2
27

28                                      PAGE 48
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                                           ID #:1041


1

2
      An officer's hunch without evidence of illegal activity is not enough to legally
3
      search your car. Before searching, he must observe something real. Common
4
      examples of probable cause include the sight or smell of contraband in plain
5
      view or plain smell, or an admission of guilt for a specific crime. The presentation
6
      of any of these facts would allow an officer to perform a search and make an
7
      arrest.
8
      Minor traffic violations (e.g. speeding, broken tail-light, or expired registration,
9
      infractions) are not considered probable cause.
10

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28                                            PAGE 49
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27
                                       Exhibit 3
28                                      PAGE 50
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                                          ID #:1043


1
                   Ticket infraction LQ 30682 6-27-23 Tuesday 12:55 pm HWY 18.
2
      The ticket itself CT: 001 vc “No Seat Belt”-admits we had seatbelts on says
3
      “…secured by a non-factory equipped seat belt” <–Word for
4
      word from officer Bates!
5
      Officer asked my kids to get out truck, further endangering my family on HWY
6
      high speed road. We/kids could have gotten hit by traffic while standing on the
7

8
      Highway 18 road, in the hot sun for 1 hour. Unlawful police detention on

9     suspicion of out of view no seatbelt, yet officer said everyone had a secured

10    seatbelt on! –

11    “Unlawful police detention is when law enforcement, without legal justification,

12    restricts your freedom to leave. Doing so constitutes a civil rights violation based

13    on the Fourth Amendment. That amendment to the U.S. Constitution prohibits

14    officers from conducting unreasonable searches or seizures.”

15    §3.02 Presumption of Innocence; Proof Beyond a Reasonable Doubt:
16    “It is a cardinal principle of our system of justice that every person accused of a
17    crime is presumed to be innocent unless and until his or her guilt is established
18    beyond a reasonable doubt. The presumption is not a mere formality. It is a
19    matter of the most important substance.
20    The presumption of innocence alone may be sufficient to raise a reasonable
21    doubt and to require the acquittal of a defendant. The defendant before you,
22
      Jeff Macy, has the benefit of that presumption throughout the trial, and you are
23
      not to convict [him/her] of a particular charge unless you are persuaded of
24
      [his/her] guilt of that charge beyond a reasonable doubt.
25
      The presumption of innocence until proven guilty means that the burden of
26
      proof is always on the government to satisfy you that [defendant] is guilty of the
27

28                                           PAGE 51
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1
      crime with which [he/she] is charged beyond a reasonable doubt. The law does
2
      not require that the government prove guilt beyond all possible doubt; proof
3
      beyond a reasonable doubt is sufficient to convict. This burden never shifts to
4
      [defendant]. It is always the government's burden to prove each of the
5
      elements of the crime[s] charged beyond a reasonable doubt by the evidence
6
      and the reasonable inferences to be drawn from that evidence. [Defendant]
7
      has the right to rely upon the failure or inability of the government to establish
8
      beyond a reasonable doubt any essential element of a crime charged against
9
      [him/her]. United States v. DeLuca, 137 F.3d 24, 37 (1st Cir. 1998 “If, after fair and
10
      impartial consideration of all the evidence, you have a reasonable doubt as to
11

12
      [defendant]'s guilt of a particular crime, it is your duty to acquit [him/her] of that

13    crime…”

14    Macy’s version of events:

15    2 Highway Patrol Officers violated Jeff Macy, & family’s federal civil rights. 1st

16    Amendment right to record police! (Glik v. Cunniffe, 655 F.3d 78 (1st Cir. 2011) “is

17    a case in which the United States Court of Appeals for the First Circuit held that

18    a private citizen has the right to record video and audio of police carrying out

19    their duties in a public place.”
20    Highway patrol said, "Not allowed to record during his (highway patrol officer)
21    traffic stop". Forced to get son Josiah Macy to take over recording. Macy was
22    told cannot investigate. Illegal traffic stop of "suspicion of non-factory installed
23    vehicle seat belt". –Police are not above the Law. Federal Civil Enforcement. (34
24    usc §12601)
25    Fourth Amendment to the Constitution. “The right of the people to be secure in
26
      their persons, houses, papers, and effects, against unreasonable searches and
27
      seizures, shall not be violated, and no warrants shall issue, but upon probable
28                                             PAGE 52
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1
      cause, supported by oath or affirmation, and particularly describing the place
2
      to be searched, and the persons or things to be seized.” -Officer entered our
3
      truck without permission and seized private property imagines without consent.
4
      Supreme Court noted in (Mapp v. Ohio (1961)), there remains no fixed test for
5
      reasonableness. Instead, trial courts determine reasonableness using an
6
      objective standard on a case-by-case basis. The reasonableness inquiry under
7
      the Fourth Amendment focuses on the specific context and the threat that the
8
      suspect poses. In the event that an individual believes law enforcement failed to
9
      conduct a seizure reasonably, that individual may pursue a civil action against
10
      the relevant government officers for a violation of his or her constitutional rights.
11

12
      But such a suit may be brought only after the alleged constitutional violation has

13    occurred…

14    No-where does vehicle code say, “Must have a manufactures factory installed

15    seat belt?” Illegal search and seizure. Officer Bates climbed up into my truck

16    and took picture/s without permission. –The picture/s will be self-evident of this

17    violation as/is also recorded by adult Josiah Macy. Contesting this 1-hour illegal

18    arrest/ticket as said. Civil rights act 1871 (42 USC §1983) "willfully" 18 usc § 242

19    "specific intent" (Screws v U.S. 91 (1945) Federal civil rights crimes: "A pattern or
20    practice by LAW ENFORCEMENT OFFICERS to deprive people of their
21    constitutinal rights.” (34 usc § 12601)
22    Exhibit #1 Video recording of Officer Bates folded shirt name tag, and refusing to
23    identify himself in full when requested many times by Mr. Macy.
24    “Thus, there is no absolute requirement that law enforcement officers identify
25    themselves prior to conducting a search or seizure. Instead, a failure to do so
26
      bears on the reasonableness of the officers’ overall behaviors, including, as the
27
      U.S. Court of Appeals for the Eighth Circuit noted in Atkinson v. City of Mountain
28                                              PAGE 53
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1
      View, Mo. (2013), the nature of the plaintiff’s crime and whether or not the
2
      plaintiff posed an immediate threat to the officer. A unanimous Seventh Circuit
3
      panel in Doornbos v. City of Chicago (2017) stated that, “[a]lthough some
4
      unusual circumstances may justify an officer’s failure to identify himself in rare
5
      cases, it is generally not reasonable for a plainclothes officer to fail to identify
6
      himself when conducting a stop.” Thus, there is some chance that an officer
7
      could be denied qualified immunity on the basis of a failure to identify if that
8
      failure was deemed unreasonable and precedents just discussed had “clearly
9
      established” a right to disclosure.”
10
      In the event of a constitutional violation, the doctrine of qualified immunity…
11

12
      Reasonableness standard is essential. Only if the right(s) in question has been

13    clearly established and a reasonable officer would not believe that the activity

14    the officer engaged in was lawful, will that officer be denied qualified immunity.

15    “The nature of the inquiry into the reasonableness of a law enforcement officer’s

16    failure to identify as such is largely dependent on where the search or seizure in

17    question occurred.”- Supreme Court.

18    Officer Bates refused to give Jeff Macy his name or business card, or show his

19    name tag.
20    Similarly, Section 5–331.09 of the Code of the District of Columbia requires that
21    the Metropolitan Police Department “ensure that all uniformed officers assigned
22    to police First Amendment assemblies are equipped with the enhanced
23    identification and may be identified even if wearing riot gear,” including “by
24    modifying the manner in which those officers’ names or badge numbers are
25    affixed to the officers’ uniforms or helmets” to make the information more visible.
26
      The Justice Department has also previously played an important role in making
27
      sure that police departments meet accountability standards for displaying
28                                            PAGE 54
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                                          ID #:1047


1
      identifying information. In 2014, it criticized the Ferguson Police Department for
2
      reports of officers having failed to wear nameplates, which emerged as part of
3
      an investigation into the police department “for an alleged pattern or practice
4
      of unlawful misconduct.” The investigation was triggered in part by the killing of
5
      Michael Brown, an African American man, by a white police officer. A Justice
6
      Department letter sent to Ferguson police explained that “[o]fficers wearing
7
      name plates while in uniform is a basic component of transparency and
8
      accountability. … Allowing officers to remain anonymous when they interact
9
      with the public contributes to mistrust and undermines accountability. The failure
10
      to wear name plates conveys a message to community members that, through
11

12
      anonymity, officers may seek to act with impunity.” Requirements that officers

13    introduce themselves by name and rank as soon as practicable during

14    investigatory and noncustodial stops was also part of the consent decree

15    between the City of Ferguson and the Department of Justice, which was

16    entered into in March 2016 in the wake of the Justice Department’s

17    investigation. The new guidelines were intended to promote the police

18    department’s efforts at community policing. Even prior to the consent decree,

19    municipal law in Ferguson required that officers “wear the regulation uniform
20    while on duty” and a nameplate was part of that regulation uniform.
21    Stated, “Does not have a business card with name on it. Officer added words to
22    vehicle code 27315(e) vc, even to his Sargent, Said, “Section 27315(e) says MUST
23    have a “FACTORY installed seatbelt???” -Sargent trusted his fellow officer’s
24    words to support officer Bates misquoted words. This is an abuse of duty by
25    Officer Bate’s authority and expertise. This is a willful act of abuse of power to
26
      act as a judge and the jury, without any code written words or letter of the law,
27
      to back up his false claim!
28                                           PAGE 55
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1
      27315(e) Vehicle Code: “(e) A person 16 years of age or over shall not be a
2
      passenger in a motor vehicle on a highway unless that person is properly
3
      restrained by a safety belt. This subdivision does not apply to a passenger in a
4
      sleeper berth, as defined in subdivision (x) of Section 1201 of Title 13 of the
5
      California Code of Regulations.”
6
      Exhibit #2 Weight Receipt “County of San Bernardino SOLID WASTE
7
      MANAGEMENT DIVISION.
8
      Transaction #520932116 6/27/23 loc 52/ Heaps Peak. Time in 12:09 pm. Origins
9
      739 Lake Arrowhead Ca 92352. Trans Type: 120 Land Use. Weight Net: 2,240 lbs
10
      (1.12 tons) Å That’s a lot of trash!
11

12
      Both officers were informed that we had just left the Running Spring Dump, after

13    dumping trash. (Solid waste removal) Even after being informed that, and

14    knowing our business card says, Hauling” which would exempt us from even

15    using seatbelts, still stubbornly gave seat belt ticket. “Garbage truck drivers, &

16    persons who work frequently entering & leaving vehicle”.

17    Exhibit #2–Yet Sargent knew we dumped trash, as printed on our business card

18    in neon orange; that he had when Macy’s had worked for him previously.

19    “(o) This section does not apply to a driver actually engaged in the collection of
20    solid waste or recyclable materials along that driver’s collection route if the
21    driver is properly restrained by a safety belt prior to commencing and
22    subsequent to completing the collection route.”
23    Also: §220 (5) Subsection (4) does not apply to a person:
24    “(c) who is actually engaged in work that requires him or her to alight from and
25    re-enter the motor vehicle at frequent intervals and who, while engaged in that
26
      work, does not drive or travel in that vehicle at a speed exceeding 40 km/h,” –
27
      We were driving under the 35mph speed limit on HWY 18. All our other trash,
28                                           PAGE 56
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1
      weed abatement clean-up (branches, leaves, trash wood, debris) roads are
2
      even slower mountain hilly roads.
3
      Fishing for reason to give “click-it-or-ticket” seatbelt violation ticket to gain
4
      money, based on suspicion out of view by officer Bates parked on other side of
5
      road. On his… “possibility there was not a seatbelt present”? Yet ticket even
6
      says “…secured by a non-factory equipped seat belt” –Word for word from
7
      officer Bates. “Opportunities for Law Enforcement to harass minority groups” (St.
8
      Lois et. Al, 2011) –This can be against a race, religion or any targeted type,
9
      including people with criminal records. Jeff Macy had already filed a Federal
10
      Lawsuit against San Bernardino County. Seemed like a suspiciously targeted
11

12
      stop.

13    (Exhibit # History TBD) Still waiting for Public Records request incident reports from

14    said Highway Patrol. HWY patrol has refused to give us their video recording

15    from their car! They ask for my video evidence and have still not come to get it.

16    History: 1-2 years ago Highway patrol illegally towed same exact truck. A

17    Highway patrol officer lied writing ticket that Macy’s Isuzu box truck was

18    blocking a private road & blocking a fire hydrant. Was another false ticket (we

19    had photo of truck position showing past the 15’ side legal requirement. A
20    Highway Patrol officer willingly lied, assumed to continue harassing Jeff Macy
21    and get money through fake fines unjustly. On appeal was found again, Jeff
22    Macy was correct, no violations or valid ticket. Being another error (intentional
23    police misconduct) ticket dropped. Costing Mr. Macy thousands of dollars to
24    get work truck out of impound. Highway Patrol had truck towed all the way out
25    of San Bernardino County to Hesperia Ca. (Another violation of Federal law).
26
      Truck should not have been towed by Highway Patrol command from the side
27
      of the road; a private property on a private road. Other times looked like same
28                                            PAGE 57
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1
      officer of Highway Patrol was driving around my neighborhood for no reason.
2
      Slowed down starred at us for no reason, as if looking to stop us again for doing
3
      nothing wrong. Next year Highway Patrol pulled over Jeff Macy for suspicion of
4
      not have a seatbelt for 4th passenger. After inspection seeing 4th legal safe
5
      seatbelt, said we were ok and free to leave. (Wasted 15 minutes of our lives for
6
      his fishing expedition). Mr. Macy left without further incident. Other times
7
      Highway Patrols came out, drove up my private road “Augusta Way” asking me
8
      questions about my vehicle parked on the side of my own property. This is a
9
      clear pattern of unjust harassment.
10
      Exhibit #3 CPRA Request Letter. Jeff Macy has request numerous times for
11

12
      documents and recording from Highway Patrol local office, dispatch & directly

13    through public records request office locally and Sacramento. Any

14    infractions/incidents/reports/driving on Augusta Way, Lake Arrowhead Ca or

15    tickets to "Jeffrey Macy" by highway patrol or traffic stops last 10 years. (1

16    Example request not fulfilled).

17    San Bernardino County Public Request #23-3765 (Running Springs Ca Highway

18    Patrol)

19    Mr. Macy alleges Running Springs Ca. Highway Patrol is actively covering up
20    &/or failing to follow the 10-day Legal requirement to disclose and provide said
21    documents. Only response Mr. Macy has received was a letter on April 07, 2023
22    file # 801.13318.a14522. Which, just repeated the requests I asked for from
23    Highway Patrol numerous times; for evidence of suspicion of crimes/cover-
24    up/negligence by Burtec/Highway Patrol. I called office & mailed back
25    response saying, YES, give me the evidence requested already to Highway
26
      patrol by D.J. Minor, Chief’s confirmation of request.
27

28                                            PAGE 58
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                                            ID #:1051


1
      Macy’s were 100% cooperative, peaceful at all times and provided all
2
      documents requested during illegal traffic stop. (Driver’s License, Registration &
3
      Proof of insurance- all valid, up to date)
4
      (Macy’s have HD video/audio of clear recording of illegal traffic stop, which
5
      started after realizing Officer was not going to let us go home). All accusations
6
      are true based on MACY’s video recording and 4 adult Macy witnesses. Traffic
7
      infraction ticket hopefully will get dismissed soon. We have the right & just to file
8
      Federal Lawsuits against said Officers, and Running Springs Highway Patrol for:
9
      gross negligence, civil rights violations, harassment, government invasion of
10
      privacy, emotional distress (1871 (42 § 1983), illegal detainment, false arrest,
11

12
      cover-up; forcing citizens to have to go to out of area (Lake Arrowhead, San

13    Bernardino CA to far away Fontana, Ca to contest/appear/appeal; against

14    right to a trial by own peers (own area [Lake Arrowhead Ca, San Bernardino

15    County.] we live in), not even in the same Town (Fontana, Ca). 50 minute drive

16    down the hill in a car, if no traffic.

17

18    Jeff Macy P.O. box #103 twin peaks ca 92391. (loveothersas@gmail.com) Any
19    questions Jeff Macy 909-744-8480 home, 909-915-5554 cell phone. All evidence
20    within 10 days as highway patrol notice to appear court date upcoming. I can
21    send video evidence of officer admitting everyone had seat belts on! Here is the
22    video link to itÎ https://www.youtube.com/watch?v=GvmaMonuPeo
23

24

25

26

27

28                                             PAGE 59
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27
                                       Exhibit 4
28                                      PAGE 60
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1     There was no probable cause to stop the Macy’s to check to see if a seatbelt was being used or not,
      out of site lap belt.
2

3
      The traffic stop has to be short, though. Was over 1 hour.
      California Code, Vehicle Code - VEH § 27315
4
       (e) A person 16 years of age or over shall not be a passenger in a motor vehicle on a highway unless
5
      that person is properly restrained by a safety belt. This subdivision does not apply to a passenger in a
6     sleeper berth, as defined in subdivision (x) of Sec on 1201 of Title 13 of the California Code of
      Regula ons.
7
      (o) This sec on does not apply to a driver actually engaged in the collec on of solid waste or
8     recyclable materials along that driver's collec on route if the driver is properly restrained by a safety
9
      belt prior to commencing and subsequent to comple ng the collec on route. (not reasonable to
      expect that if a driver does not need a seatbelt, that a passenger does need a seatbelt? Garbage trucks
10    even have 2 workers hanging oﬀ the back of the truck with no seatbelt all over the usa)

11    ------------------------------------------------------------------------------------------------------------------------------------------

12    Seat Belt Laws in California? h ps://www.dmv.org/ca-california/safety-laws.php

13    Vehicles must contain properly functioning seat belts.

14    Agency of Transportation Department of Motor Vehicles [Federal above Calif laws]

15
      -------------------------------------------------------------------------------------------------------------------------------
      Safety Belts 23 V.S.A. § 1259. Safety belts; persons age 18 and over
16
      (2) the person is a driver or passenger frequently stopping and leaving the motor vehicle or delivering
17
      property from the motor vehicle, if the speed of the motor vehicle between stops does not exceed 15
18    miles per hour;

19    ------------------------------------------------------------------------------------------------------------------------------

20    (2018 Isuzu npr truck uses lap belt type 1 for interior bench seat passengers)

21    FEDERAL MOTOR VEHICLE SAFETY STANDARDS –higher law than Calif law.
      49 CFR § 571.209 - Standard No. 209; Seat belt assemblies
22
      (c) AƩachment hardware.
23
           (1) Eye bolts, shoulder bolts, or other bolt used to secure the pelvic restraint of seat belt
24             assembly to a motor vehicle shall withstand a force of 40,034 N when tested by the procedure
               specified in S5.2(c)(1), except that a achment bolts of a seat belt assembly designed for
25             installa on in specific models of motor vehicles in which the ends of two or more seat
26             belt assemblies cannot be a ached to the vehicle by a single bolt shall have breaking strength of
               not less than 22,241 N.
27         (pelvic- means lap only requirement- 2 point seatbelt (type 1) is only requirement)
28                                                                   PAGE 61
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1         Type 1 seat belt assembly is a lap belt for pelvic restraint.
2         49 CFR § 571.209 (g) Adjustment.

3         (1) A Type 1 or Type 2 seat belt assembly shall be capable of adjustment to fit occupants whose
          dimensions and weight range from those of a 5th-percen le adult female to those of a 95th-
4
          percen le adult male. The seat belt assembly shall have either an automa c-locking retractor, an
5         emergency-locking retractor, or an adjus ng device that is within the reach of the occupant.

6         (2) A Type 1 or Type 2 seat belt assembly for use in a vehicle having seats that are adjustable shall
          conform to the requirements of S4.1(g)(1) regardless of seat posi on. However, if a seat has a back
7         that is separately adjustable, the requirements of S4.1(g)(1) need be met only with the seat back in
          the manufacturer's nominal design riding posi on.
8

9
          California Code, Vehicle Code - VEH § 27318
10
          At a minimum, the Law states that the seatbelt must be a lap belt that crosses a person’s upper
11
          thighs and hips.
12
          (e)(1) For purposes of this sec on, “acceptably restrained by a safety belt” means all of the
13        following:

14        (A) The latch plate is securely fastened in the buckle.

15        (B) The lap belt shall be adjusted to fit low and ght across the hips or upper thighs, not the stomach
          area.
16

17
      Federal Motor Carrier Safety Administra on (FMCSA), DOT. established within the Department of
18    Transporta on on January 1, 2000, pursuant to the Motor Carrier Safety Improvement Act of 1999 (49
      U.S.C. 113).
19
      2012 amendment to the 1984 Act requires FMCSA to ensure that CMV drivers are not coerced to
20
      violate certain provisions of the FMCSRs (sec. 31136(a)(5)). Coercion is now prohibited by 49 CFR
21    390.6. Given the obvious value of this final rule and the ease of compliance, the Agency believes that
      no one will be coerced not to wear a seat belt.
22
      A. Compliance Responsibili es
23
      Comments: Three commenters opposed imposing a new responsibility on drivers to ensure passenger
24    compliance with a seat belt regula on. An individual stated that neither the motor carrier nor the driver
      should be responsible for requiring passengers to use the seat belts, and men oned that drivers deal
25
      with many other regula ons already. Both ATA and Werner stated that a motor carrier could not and
26    should not be responsible for the use of safety belts in CMVs, as they have no prac cable way to monitor
      it.
27

28                                                      PAGE 62
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27                                     Exhibit 5
28                                      PAGE 63
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1                           Ticket infrac on LQ 30682 6-27-23 Tuesday 12:55 pm HWY 18.

2     §3.02 Presump on of Innocence; Proof Beyond a Reasonable Doubt

3     “It is a cardinal principle of our system of jus ce that every person accused of a crime is presumed to be
      innocent unless and un l his or her guilt is established beyond a reasonable doubt. The presump on is
4
      not a mere formality. It is a ma er of the most important substance.
5     The presump on of innocence alone may be suﬃcient to raise a reasonable doubt and to require the
6     acqui al of a defendant. The defendant before you, [__________], has the benefit of that presump on
      throughout the trial, and you are not to convict [him/her] of a par cular charge unless you are
7     persuaded of [his/her] guilt of that charge beyond a reasonable doubt.
8     The presump on of innocence un l proven guilty means that the burden of proof is always on the
      government to sa sfy you that [defendant] is guilty of the crime with which [he/she] is charged beyond a
9
      reasonable doubt. The law does not require that the government prove guilt beyond all possible doubt;
10    proof beyond a reasonable doubt is suﬃcient to convict. This burden never shi s to [defendant]. It is
      always the government's burden to prove each of the elements of the crime[s] charged beyond a
11    reasonable doubt by the evidence and the reasonable inferences to be drawn from that evidence.
12
      [Defendant] has the right to rely upon the failure or inability of the government to establish beyond a
      reasonable doubt any essen al element of a crime charged against [him/her]. United States v. DeLuca,
13    137 F.3d 24, 37 (1st Cir. 1998 “If, a er fair and impar al considera on of all the evidence, you have a
      reasonable doubt as to [defendant]'s guilt of a par cular crime, it is your duty to acquit [him/her] of that
14
      crime…”
15
                                               Macy’s version of events:
16
      2 Highway Patrol Oﬃcers violated Jeﬀ Macy, & family’s federal civil rights. 1st Amendment right to record
17    police! (Glik v. Cunniﬀe, 655 F.3d 78 (1st Cir. 2011) “is a case in which the United States Court of Appeals
      for the First Circuit held that a private ci zen has the right to record video and audio of police carrying
18    out their du es in a public place.”
19    Highway patrol said, "Not allowed to record during his (highway patrol oﬃcer) traﬃc stop". Forced to get
      son Josiah Macy to take over recording. Macy was told cannot inves gate. Illegal traﬃc stop of "suspicion
20
      of non-factory installed vehicle seat belt". –Police are not above the Law. Federal Civil Enforcement. (34
21    usc §12601)

22    Fourth Amendment to the Cons tu on. “The right of the people to be secure in their persons, houses,
      papers, and eﬀects, against unreasonable searches and seizures, shall not be violated, and no warrants
23    shall issue, but upon probable cause, supported by oath or aﬃrma on, and par cularly describing the
24
      place to be searched, and the persons or things to be seized.” -Oﬃcer entered our truck without
      permission and seized private property imagines without consent.
25
      Supreme Court noted in (Mapp v. Ohio (1961)), there remains no fixed test for reasonableness. Instead,
26    trial courts determine reasonableness using an objec ve standard on a case-by-case basis. The
      reasonableness inquiry under the Fourth Amendment focuses on the specific context and the threat that
27
      the suspect poses. In the event that an individual believes law enforcement failed to conduct a seizure
28                                                     PAGE 64
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1     reasonably, that individual may pursue a civil ac on against the relevant government oﬃcers for a
      viola on of his or her cons tu onal rights. But such a suit may be brought only a er the alleged
2
      cons tu onal viola on has occurred…
3
      No-where does vehicle code say, “Must have a manufactures factory installed seat belt?” Illegal search
4     and seizure. Oﬃcer Bates climbed up into my truck and took picture/s without permission. –The
      picture/s will be self-evident of this viola on as/is also recorded by adult Josiah Macy. Contes ng this 1-
5     hour illegal arrest/ cket as said. Civil rights act 1871 (42 USC §1983) "willfully" 18 usc § 242 "specific
      intent" (Screws v U.S. 91 (1945) Federal civil rights crimes: "A pa ern or prac ce by LAW ENFORCEMENT
6
      OFFICERS to deprive people of their cons tu nal rights.” (34 usc § 12601)
7
      Exhibit #1 Video recording of Officer Bates folded shirt name tag, and refusing to identify himself in full
8     when requested many times by Mr. Macy.

9     “Thus, there is no absolute requirement that law enforcement officers identify themselves prior to
      conducting a search or seizure. Instead, a failure to do so bears on the reasonableness of the officers’
10    overall behaviors, including, as the U.S. Court of Appeals for the Eighth Circuit noted in Atkinson v. City
      of Mountain View, Mo. (2013), the nature of the plaintiff’s crime and whether or not the plaintiff posed an
11
      immediate threat to the officer. A unanimous Seventh Circuit panel in Doornbos v. City of Chicago (2017)
12    stated that, “[a]lthough some unusual circumstances may justify an officer’s failure to identify himself in
      rare cases, it is generally not reasonable for a plainclothes officer to fail to identify himself when
13    conducting a stop.” Thus, there is some chance that an officer could be denied qualified immunity on the
      basis of a failure to identify if that failure was deemed unreasonable and precedents just discussed had
14    “clearly established” a right to disclosure.”
15    In the event of a cons tu onal viola on, the doctrine of qualified immunity…
16    Reasonableness standard is essen al. Only if the right(s) in ques on has been clearly established and a
      reasonable oﬃcer would not believe that the ac vity the oﬃcer engaged in was lawful, will that oﬃcer
17
      be denied qualified immunity. “The nature of the inquiry into the reasonableness of a law enforcement
18    oﬃcer’s failure to iden fy as such is largely dependent on where the search or seizure in ques on
      occurred.”- Supreme Court.
19
      Officer Bates refused to give Jeff Macy his name or business card, or show his name tag.
20
      Similarly, Section 5–331.09 of the Code of the District of Columbia requires that the Metropolitan Police
21    Department “ensure that all uniformed officers assigned to police First Amendment assemblies are
      equipped with the enhanced identification and may be identified even if wearing riot gear,” including “by
22
      modifying the manner in which those officers’ names or badge numbers are affixed to the officers’
23    uniforms or helmets” to make the information more visible.

24    The Justice Department has also previously played an important role in making sure that police
      departments meet accountability standards for displaying identifying information. In 2014, it criticized the
25    Ferguson Police Department for reports of officers having failed to wear nameplates, which emerged as
      part of an investigation into the police department “for an alleged pattern or practice of unlawful
26    misconduct.” The investigation was triggered in part by the killing of Michael Brown, an African
      American man, by a white police officer. A Justice Department letter sent to Ferguson police explained
27
      that “[o]fficers wearing name plates while in uniform is a basic component of transparency and
28                                                     PAGE 65
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1     accountability. … Allowing officers to remain anonymous when they interact with the public contributes
      to mistrust and undermines accountability. The failure to wear name plates conveys a message to
2
      community members that, through anonymity, officers may seek to act with impunity.” Requirements that
3     officers introduce themselves by name and rank as soon as practicable during investigatory and
      noncustodial stops was also part of the consent decree between the City of Ferguson and the Department
4     of Justice, which was entered into in March 2016 in the wake of the Justice Department’s investigation.
      The new guidelines were intended to promote the police department’s efforts at community policing.
5     Even prior to the consent decree, municipal law in Ferguson required that officers “wear the regulation
      uniform while on duty” and a nameplate was part of that regulation uniform.
6
      Stated, “Does not have a business card with name on it. Officer added words to vehicle code 27315(e) vc,
7
      even to his Sargent, Said, “Section 27315(e) says MUST have a “FACTORY installed seatbelt???” -
8     Sargent trusted his fellow officer’s words to support officer Bates misquoted words. This is an abuse of
      duty by Officer Bate’s authority and expertise. This is a willful act of abuse of power to act as a judge and
9     the jury, without any code written words or letter of the law, to back up his false claim!

10    27315(e) Vehicle Code: “(e) A person 16 years of age or over shall not be a passenger in a motor vehicle
      on a highway unless that person is properly restrained by a safety belt. This subdivision does not apply to
11    a passenger in a sleeper berth, as defined in subdivision (x) of Section 1201 of Title 13 of the California
      Code of Regulations.”
12
      Exhibit #2 Weight Receipt “County of San Bernardino SOLID WASTE MANAGEMENT DIVISION.
13
      Transaction #520932116 6/27/23 loc 52/ Heaps Peak. Time in 12:09 pm. Origins 739 Lake Arrowhead Ca
14    92352. Trans Type: 120 Land Use. Weight Net: 2,240 lbs (1.12 tons) Å That’s a lot of trash!
15    Both officers were informed that we had just left the Running Spring Dump, after dumping trash. (Solid
      waste removal) Even after being informed that, and knowing our business card says, Hauling” which
16
      would exempt us from even using seatbelts, still stubbornly gave seat belt ticket. “Garbage truck drivers,
17    & persons who work frequently entering & leaving vehicle”.

18    Exhibit #2–Yet Sargent knew we dumped trash, as printed on our business card in neon orange; that he
      had when Macy’s had worked for him previously.
19
      “(o) This section does not apply to a driver actually engaged in the collection of solid waste or recyclable
20    materials along that driver’s collection route if the driver is properly restrained by a safety belt prior to
      commencing and subsequent to completing the collection route.”
21
      Also: §220 (5) Subsection (4) does not apply to a person:
22
      “(c) who is actually engaged in work that requires him or her to alight from and re-enter the motor vehicle
23    at frequent intervals and who, while engaged in that work, does not drive or travel in that vehicle at a
      speed exceeding 40 km/h,” –We were driving under the 35mph speed limit on HWY 18. All our other
24    trash, weed abatement clean-up (branches, leaves, trash wood, debris) roads are even slower mountain
      hilly roads.
25
      Fishing for reason to give “click-it-or-ticket” seatbelt violation ticket to gain money, based on suspicion
26
      out of view by officer Bates parked on other side of road. On his… “possibility there was not a seatbelt
27    present”? Yet ticket even says “…secured by a non-factory equipped seat belt” –Word for word from

28                                                      PAGE 66
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1     officer Bates. “Opportunities for Law Enforcement to harass minority groups” (St. Lois et. Al, 2011) –
      This can be against a race, religion or any targeted type, including people with criminal records. Jeff
2
      Macy had already filed a Federal Lawsuit against San Bernardino County. Seemed like a suspiciously
3     targeted stop.
      (Exhibit # History TBD) Still waiting for Public Records request incident reports from said Highway
4
      Patrol) History: 1-2 years ago Highway patrol illegally towed same exact truck. A Highway patrol officer
5     lied writing ticket that Macy’s Isuzu box truck was blocking a private road & blocking a fire hydrant. Was
      another false ticket (we had photo of truck position showing past the 15’ side legal requirement. A
6     Highway Patrol officer willingly lied, assumed to continue harassing Jeff Macy and get money through
      fake fines unjustly. On appeal was found again, Jeff Macy was correct, no violations or valid ticket. Being
7
      another error (intentional police misconduct) ticket dropped. Costing Mr. Macy thousands of dollars to
8     get work truck out of impound. Highway Patrol had truck towed all the way out of San Bernardino
      County to Hesperia Ca. (Another violation of Federal law). Truck should not have been towed by
9     Highway Patrol command from the side of the road; a private property on a private road. Other times
      looked like same officer of Highway Patrol was driving around my neighborhood for no reason. Slowed
10    down starred at us for no reason, as if looking to stop us again for doing nothing wrong. Next year
11    Highway Patrol pulled over Jeff Macy for suspicion of not have a seatbelt for 4th passenger. After
      inspection seeing 4th legal safe seatbelt, said we were ok and free to leave. (Wasted 15 minutes of our
12    lives for his fishing expedition). Mr. Macy left without further incident. Other times Highway Patrol’s
      came out, drove up my private road “Augusta Way” asking me questions about my vehicle parked on the
13    side of my own property. This is a clear pattern of unjust harassment.
14    Exhibit #3 CPRA Request Letter. Jeff Macy has request numerous times for documents and recording
      from Highway Patrol local office, dispatch & directly through public records request office locally and
15
      Sacramento. Any infractions/incidents/reports/driving on Augusta Way, Lake Arrowhead Ca or tickets to
16    "Jeffrey Macy" by highway patrol or traffic stops last 10 years. (1 Example request not fulfilled).

17
      San Bernardino County Public Request #23-3765 (Running Springs Ca Highway Patrol)

      Mr. Macy alleges Running Springs Ca. Highway Patrol is actively covering up &/or failing to follow the
18
      10-day Legal requirement to disclose and provide said documents. Only response Mr. Macy has received
19    was a letter on April 07, 2023 file # 801.13318.a14522. Which, just repeated the requests I asked for from
      Highway Patrol numerous times; for evidence of suspicion of crimes/cover-up/negligence by
20    Burtec/Highway Patrol. I called office & mailed back response saying, YES, give me the evidence
      requested already to Highway patrol by D.J. Minor, Chief’s confirmation of request.
21
      Macy’s were 100% cooperative, peaceful at all times and provided all documents requested during illegal
22    traffic stop. (Driver’s License, Registration & Proof of insurance- all valid, up to date)
23    (Macy’s have HD video/audio of clear recording of illegal traffic stop, which started after realizing
      Officer was not going to let us go home). All accusations are true based on MACY’s video recording and
24
      4 adult Macy witnesses. Traffic infraction ticket hopefully will get dismissed soon. We have the right &
25    just to file Federal Lawsuits against said Officers, and Running Springs Highway Patrol for: gross
      negligence, civil rights violations, harassment, government invasion of privacy, emotional distress (1871
26    (42 § 1983), illegal detainment, false arrest, cover-up; forcing citizens to have to go to out of area (Lake
      Arrowhead, San Bernardino CA to far away Fontana, Ca to contest/appear/appeal; against right to a trial
27

28                                                      PAGE 67
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1     by own peers (own area [Lake Arrowhead Ca, San Bernardino County.] we live in), not even in the same
      Town (Fontana, Ca). 50 minute drive down the hill in a car, if no traffic.
2

3
                                  San Bernardino County Public Request #23-3765
4
      California running springs Highway Patrol oﬃcer "Bates" badge id #18392
5
      on: 6-27-23 12:55 to 1:45pm Tuesday.
6
      1) Full name and badge numbers of "oﬃcer "Bates" & his responding sergeant “Obrien”.
7
      2) All/both highway patrol car’s video/audio records of traﬃc stop cket# LQ 30682
8
      3) All audio & or videos on body cameras of both oﬃcers involved in traﬃc infrac on stop.
9
      4) Any & all stops/tows of Isuzu npr truck by highway patrol last 10 years or this white box truck: 2018
10    Isuzu npr lic # 17394g3

11    5) Any infrac ons/incidents/reports/driving on Augusta Way, Lake Arrowhead Ca or ckets to "Jeﬀrey
      Macy" by highway patrol or traﬃc stops last 10 years.
12
      6) All full names of any highway patrol oﬃcers in any of the said above requests. DMV internal aﬀairs
13    contact number, address.
14    7) All final verdict/s or outcomes of highway patrol stops or ckets from highway patrol last 10 years
      related to said truck or related to Jeﬀrey Lloyd Macy.
15
      8) Name/s of public recorders request workers who are responsible for replying to any public requests
16
      made the last 2 years from Jeﬀ Macy of any department; provide within 10 days.
17
      9) Any documents/laws/vehicle codes or regula on or policy’s related to oﬃcers who are supposed to
18    iden fy themselves or provide business card or answer ques ons related to a traﬃc policy/traﬃc stop of
      running spring highway patrol oﬃce or current California laws.
19
      Mail all documents or e-mail to: Jeﬀ Macy P.O. box #103 twin peaks ca 92391. (loveothersas@gmail.com)
20
      Any ques ons Jeﬀ Macy 909-744-8480 home, 909-915-5554 cell phone. All evidence within 10 days as
21    highway patrol no ce to appear court date upcoming.
22

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28                                                     PAGE 68
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                                       Exhibit 6
28                                      PAGE 69
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                                                         CHAPTER 4

                                         OFFICER-VIOLATOR CONTACT

                                             REVISED FEBRUARY 2016

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                                         CHAPTER 4

                              OFFICER-VIOLATOR CONTACT


 1.   INTRODUCTION.

      a. For purposes of this chapter, all uniformed members of the Department will be
      referred to as officers, unless otherwise indicated.

      b. Law enforcement agencies are judged mainly by the contacts officers have with
      the public. One officer’s actions can impact the entire program of public relations.
      The majority of the public favors traffic law enforcement, if it is fair and impartially
      applied using reasonable methods. The overall program of traffic safety will fail
      without the total support of field officers and their use of courtesy and common
      sense during all enforcement contacts. The success or failure of any public
      organization rests largely on the confidence of the people it serves.


 2.   INITIAL CONTACT.

      a. Courteous and Efficient Contact. There is no better way to initiate an
      enforcement contact than with courtesy. The public looks with favor upon the
      officer who is polite and tactful. It is the officer’s duty to initiate and make
      enforcement contacts with as little friction as possible, taking appropriate action
      with courtesy and fair and equitable treatment.

      b. Positive Approach. When contacting a violator, the officer should proceed in a
      courteous, positive manner, with an air of professionalism.

           (1) The officer must employ a businesslike approach which will indicate to the
           violator they are going to be treated fairly.

           (2) During contacts with the public, officers must be constantly aware of and
           avoid certain mannerisms and actions, such as: smoking, chewing gum, or
           chewing on toothpicks, which tend to irritate violators and detract from the
           professional bearing expected of California Highway Patrol (CHP) officers.

      c. Critical Time. The first 60 seconds are crucial in an officer’s contact with the
      violator. During this time, the officer may gain or lose support for the Department or
      place themselves in a life-threatening position.

           (1) Immediately after greeting the violator, the officer shall briefly explain why
           the enforcement stop was made. Many arguments can be avoided if the officer




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          definitively and firmly, yet politely, tells the violator the reason for the contact
          rather than ask questions.

               (a) A tone of voice which indicates the officer has merely stated a fact
               should not create the resentment that an accusation would. For example,
               the statement, “I stopped you because you were exceeding the speed
               limit,” spoken in a pleasant tone, is a definitive statement and is not an
               invitation for lengthy discussion.

               (b) If an officer approaches a violator in a negative manner and asks, for
               example, “Do you know why I stopped you?” or “Do you realize what you
               did?” the response elicited would likely be negative and create conflict.

          (2) Until the officer has an opportunity to learn the violator’s last name, the
          violator should be addressed as “Sir” or “Ma’am.” Sir or ma’am should not be
          spoken in a patronizing or subservient manner, but merely as a substitute for
          the person’s last name. Forms of address should usually befit the person
          being contacted (i.e., calling a juvenile sir would not be appropriate). As a
          general rule, adults perceive officers addressing them by their first name as
          being overly familiar.


 3. OBTAINING IDENTIFICATION. After explaining to the violator the reason for being
 stopped, the officer should request a driver license. The violator should remove the
 license or other identification (ID) from its holder or case. The officer should not accept
 a wallet or anything that is inside a picture holder or case.


 4.   TAKING APPROPRIATE ACTION.

      a. Appropriate Action. If a violation warrants an arrest, the officer should advise
      the violator they will be receiving a citation and the reason. Occasionally, a warning
      or explanation from the officer is a more appropriate action. Each enforcement
      contact must be evaluated on the basis of good, sound professional judgment by
      the officer. Do not make an enforcement stop for an obvious violation, then cite for
      something else.

      b. Decision-Making. The officer should make their decision relating to the action
      they will take on the basis of the facts and circumstances surrounding the violation.
      The officer should not make their decision based on the attitude and/or appearance
      of the violator.

      c. Admitting One’s Mistakes. We must recognize the fact that we can sometimes
      make a mistake. If an officer realizes they have made an error, they should admit



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      the mistake. In such cases, do not issue a citation. The officer should conclude the
      contact as graciously as possible.

      d. Enforcement. Officers should not apologize for taking an appropriate
      enforcement action.


 5.   KEEP YOUR APPROACH TO THE VIOLATOR NEUTRAL.

      a. Professionalism. Do not put on an act. Be straightforward, sincere, and
      maintain poise. Make every attempt not to show outward signs of personal feelings
      and always remain on the alert for any danger.

      b. Polite and to the Point Conversation. Keep conversation to a minimum.
      Answer any honest questions the violator asks, but maintain control of the situation.
      Try not to be placed on the defensive by any violator.

      c. Lectures. Remember that the violation was not committed against you and it
      was not committed on your highway. Stick to the facts of the case with a view
      toward accident prevention and do not give a lecture.

      d. Remarks by the Violator. Learn to disregard irritating remarks made by
      violators. Their remarks are probably due to the individual’s upset condition and
      would not be made under ordinary circumstances.

          (1) These remarks are usually just a defense or rationalization for their
          actions. Let the violator talk; it is a good safety valve for them.

          (2) Simply advise the violator why they are receiving the citation.

      e. Sincerity. Knowing the job and how to deal with people tactfully can ensure
      enforcement contacts and the completion of transactions proceed with a minimum
      amount of friction. Remember, an approach that will work well for one officer may
      work just the opposite for another officer. If the violator is convinced of your
      sincerity, you will usually have far less trouble during your contact.

      f. Unnecessary Delays. In the absence of reasonable suspicion or probable
      cause, the enforcement stop shall not be extended beyond the time necessary to
      complete the enforcement action.

          (1) An officer will spend less time in court if courteous, efficient, and sincere
          conduct is used during the enforcement contact.

          (2) Avoid all suggestions of bargaining or fixing. Do not try to magnify or
          minimize the punishment.



                                             4-5                                  HPM 70.6
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               (a) Make no statements regarding the amount of fines or dispositions of
               citations.

               (b) Do not enter into a discussion as to whether or not the citation can be
               adjudicated by mail. This is the function of the court. Advise the violator
               only that information can be obtained by contacting the court at the
               address indicated on the citation.

           (3) Give the violator detailed and complete information concerning where to
           appear for trial or settlement of the citation. Refrain from making parting
           remarks which might incense or agitate the violator.

      g. Requests for Identification. During the course of public contacts, members of
      the public might occasionally request officers to present photographic ID.
      Complying with this request is a sign of good faith and promotes confidence among
      members of the public that the person(s) they are dealing with is, in fact, a CHP
      officer.

           (1) While on duty, officers shall have their departmentally-issued ID card in
           their immediate possession, in accordance with Highway Patrol Manual 73.5,
           Uniform/Grooming and Equipment Standards Manual, Chapter 1, Uniform
           Policy.

           (2) On-duty officers receiving requests to view photographic ID should comply
           by displaying the front (photograph) side of their departmentally-issued ID card,
           unless doing so would reasonably jeopardize officer and/or public safety.

           (3) Officers making contact with members of the public by telephone should
           provide verbal ID upon request. Verbal ID consists of the uniformed
           employee’s name, rank, and ID number.

           (4) Officers working in an undercover capacity are exempt from these
           requirements while engaged in undercover operations or investigative
           activities.

           (5) Officers deployed in tactical formations are exempt from these
           requirements while participating in crowd control or engaged in a response to a
           civil disturbance.


 6.   ARREST AND NOTICE TO APPEAR.

      a.   Professional Approach.




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        (1) Be certain of the identity of the violator and the description of the vehicle.
        Be certain of all elements of the violation. If there is any doubt, do not take
        enforcement action.

        (2) Officers should approach an enforcement contact in a decisive manner,
        maintain self-control, and have a well-defined plan before talking to the
        violator.

        (3) When the violator provides their driver license, check the address and
        make sure it is current. Check the photograph and description to confirm it is
        the same individual described on the license. A comparison of signatures on
        the citation and the driver license should also be made.

        (4) The officer’s actions should be governed as if all cases will go to court.

            (a) The reverse side of the green copy of the CHP 215, Notice to Appear,
            is the officer’s record of the offense.

            (b) The officer shall make any notes on the reverse side of the green
            copy, per HPM 100.9, Enforcement Documents Manual, Chapter 1, CHP
            215, Notice to Appear. The officer can use it in court to refresh their
            memory of the circumstances of the arrest. Be complete. Do not trust the
            circumstances of the offense to memory alone.

        (5) If the driver refuses to give a written promise to appear, follow
        departmental policy as outlined in HPM 100.68, Traffic Enforcement Policy
        Manual, Chapter 2, Arrest Policies. Every effort should be made to obtain the
        driver’s signature at the scene.

            (a) Intervention by a third person, such as a supervisor or an officer from
            an adjacent beat, is usually sufficient to get the violator to comply.

        (6) A CHP 215 should normally charge only a single major hazardous
        violation observed during the continuing movement immediately prior to the
        enforcement action.

            (a) Additional charges may be added when there is clear-cut evidence of
            other violations which are not connected to the major violation charge
            (refer to HPM 100.68, Chapter 1, Patrol and General Enforcement
            Guidelines, for examples of additional charges).

            (b) This policy does not preclude charging the violator with reckless
            driving for a series of violations which clearly constitute the elements of
            that offense.



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1     Attorney Names
      Attorneys’ Business Address
2     City, ST ZIP Code
      Phone | Fax
3     Email

4                                                      COURT NAME

5                                                      JURISDICTION

6     PLAINTIFF'S NAME,                                       Case No.: Number

7                     Plaintiff,

8     vs.                                                     MACY V. SAN BERNADINO COUNTY CODE
                                                              ENFORCEMENT, FIRE ABATEMENT, CSA18
9     DEFENDANT'S NAME,                                       SPECIAL DISTRICTS, CODE ENFORCMENT
                                                              OFFICERS ET AL.
10                    Defendant

11                    Type body of pleading here.

12                    Dated this day of Month, year.

13

14                                                           Attorney Name
                           Ticket infrac on LQ 30682 6-27-23 Tuesday 12:55 pm HWY 18.
15
      §3.02 Presump on of Innocence; Proof Beyond a Reasonable Doubt
16
      “It is a cardinal principle of our system of jus ce that every person accused of a crime is presumed to be
17    innocent unless and un l his or her guilt is established beyond a reasonable doubt. The presump on is
      not a mere formality. It is a ma er of the most important substance.
18
      The presump on of innocence alone may be suﬃcient to raise a reasonable doubt and to require the
19
      acqui al of a defendant. The defendant before you, [__________], has the benefit of that presump on
20    throughout the trial, and you are not to convict [him/her] of a par cular charge unless you are
      persuaded of [his/her] guilt of that charge beyond a reasonable doubt.
21
      The presump on of innocence un l proven guilty means that the burden of proof is always on the
22    government to sa sfy you that [defendant] is guilty of the crime with which [he/she] is charged beyond a
23    reasonable doubt. The law does not require that the government prove guilt beyond all possible doubt;
      proof beyond a reasonable doubt is suﬃcient to convict. This burden never shi s to [defendant]. It is
24    always the government's burden to prove each of the elements of the crime[s] charged beyond a
      reasonable doubt by the evidence and the reasonable inferences to be drawn from that evidence.
25
      [Defendant] has the right to rely upon the failure or inability of the government to establish beyond a
26    reasonable doubt any essen al element of a crime charged against [him/her]. United States v. DeLuca,
      137 F.3d 24, 37 (1st Cir. 1998 “If, a er fair and impar al considera on of all the evidence, you have a
27

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1     reasonable doubt as to [defendant]'s guilt of a par cular crime, it is your duty to acquit [him/her] of that
      crime…”
2
                                               Macy’s version of events:
3
      2 Highway Patrol Oﬃcers violated Jeﬀ Macy, & family’s federal civil rights. 1st Amendment right to record
4
      police! (Glik v. Cunniﬀe, 655 F.3d 78 (1st Cir. 2011) “is a case in which the United States Court of Appeals
5     for the First Circuit held that a private ci zen has the right to record video and audio of police carrying
      out their du es in a public place.”
6
      Highway patrol said, "Not allowed to record during his (highway patrol oﬃcer) traﬃc stop". Forced to get
7     son Josiah Macy to take over recording. Macy was told cannot inves gate. Illegal traﬃc stop of "suspicion
      of non-factory installed vehicle seat belt". –Police are not above the Law. Federal Civil Enforcement. (34
8
      usc §12601)
9
      Fourth Amendment to the Cons tu on. “The right of the people to be secure in their persons, houses,
10    papers, and eﬀects, against unreasonable searches and seizures, shall not be violated, and no warrants
      shall issue, but upon probable cause, supported by oath or aﬃrma on, and par cularly describing the
11    place to be searched, and the persons or things to be seized.” -Oﬃcer entered our truck without
12
      permission and seized private property images without consent.

      Supreme Court noted in (Mapp v. Ohio (1961)), there remains no fixed test for reasonableness. Instead,
13
      trial courts determine reasonableness using an objec ve standard on a case-by-case basis. The
14    reasonableness inquiry under the Fourth Amendment focuses on the specific context and the threat that
      the suspect poses. In the event that an individual believes law enforcement failed to conduct a seizure
15
      reasonably, that individual may pursue a civil ac on against the relevant government oﬃcers for a
16    viola on of his or her cons tu onal rights. But such a suit may be brought only a er the alleged
      cons tu onal viola on has occurred…
17
      No-where does vehicle code say, “Must have a manufactures factory installed seat belt?” Illegal search
18    and seizure. Oﬃcer Bates climbed up into my truck and took picture/s without permission. –The
      picture/s will be self-evident of this viola on as/is also recorded by adult Josiah Macy. Contes ng this 1-
19
      hour illegal arrest/ cket as said. Civil rights act 1871 (42 USC §1983) "willfully" 18 usc § 242 "specific
20    intent" (Screws v U.S. 91 (1945) Federal civil rights crimes: "A pa ern or prac ce by LAW ENFORCEMENT
      OFFICERS to deprive people of their cons tu onal rights.” (34 u.sc. § 12601)
21
      Exhibit #1 Video recording of Officer Bates folded shirt name tag, and refusing to identify himself in
22    full when requested many times by Mr. Macy.
23    “Thus, there is no absolute requirement that law enforcement officers identify themselves prior to
      conducting a search or seizure. Instead, a failure to do so bears on the reasonableness of the officers’
24
      overall behaviors, including, as the U.S. Court of Appeals for the Eighth Circuit noted in Atkinson v. City
25    of Mountain View, Mo. (2013), the nature of the plaintiff’s crime and whether or not the plaintiff posed an
      immediate threat to the officer. A unanimous Seventh Circuit panel in Doornbos v. City of Chicago (2017)
26    stated that, “[a]lthough some unusual circumstances may justify an officer’s failure to identify himself in
      rare cases, it is generally not reasonable for a plainclothes officer to fail to identify himself when
27    conducting a stop.” Thus, there is some chance that an officer could be denied qualified immunity on the
28                                                     PAGE 103
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1     basis of a failure to identify if that failure was deemed unreasonable and precedents just discussed had
      “clearly established” a right to disclosure.”
2
      In the event of a cons tu onal viola on, the doctrine of qualified immunity…
3
      Reasonableness standard is essen al. Only if the right(s) in ques on has been clearly established and a
4     reasonable oﬃcer would not believe that the ac vity the oﬃcer engaged in was lawful, will that oﬃcer
5     be denied qualified immunity. “The nature of the inquiry into the reasonableness of a law enforcement
      oﬃcer’s failure to iden fy as such is largely dependent on where the search or seizure in ques on
6     occurred.”- Supreme Court.
7     Officer Bates refused to give Jeff Macy his name or business card, or show his name tag.
8     Similarly, Section 5–331.09 of the Code of the District of Columbia requires that the Metropolitan Police
      Department “ensure that all uniformed officers assigned to police First Amendment assemblies are
9     equipped with the enhanced identification and may be identified even if wearing riot gear,” including “by
10
      modifying the manner in which those officers’ names or badge numbers are affixed to the officers’
      uniforms or helmets” to make the information more visible.
11
      The Justice Department has also previously played an important role in making sure that police
12    departments meet accountability standards for displaying identifying information. In 2014, it criticized the
      Ferguson Police Department for reports of officers having failed to wear nameplates, which emerged as
13    part of an investigation into the police department “for an alleged pattern or practice of unlawful
      misconduct.” The investigation was triggered in part by the killing of Michael Brown, an African
14
      American man, by a white police officer. A Justice Department letter sent to Ferguson police explained
15    that “[o]fficers wearing name plates while in uniform is a basic component of transparency and
      accountability. … Allowing officers to remain anonymous when they interact with the public contributes
16    to mistrust and undermines accountability. The failure to wear name plates conveys a message to
      community members that, through anonymity, officers may seek to act with impunity.” Requirements that
17    officers introduce themselves by name and rank as soon as practicable during investigatory and
      noncustodial stops was also part of the consent decree between the City of Ferguson and the Department
18
      of Justice, which was entered into in March 2016 in the wake of the Justice Department’s investigation.
19    The new guidelines were intended to promote the police department’s efforts at community policing.
      Even prior to the consent decree, municipal law in Ferguson required that officers “wear the regulation
20    uniform while on duty” and a nameplate was part of that regulation uniform.
21    Stated, “Does not have a business card with name on it. Officer added words to vehicle code 27315(e) vc,
      even to his three chevron Sergeant, Said, “Section 27315(e) says MUST have a “FACTORY installed
22
      seatbelt???” -Sergeant trusted his fellow officer’s words to support officer Bates misquoted words. This
23    is an abuse of duty by Officer Bate’s authority and expertise. This is a willful act of abuse of power to act
      as a judge and the jury, without any code written words or letter of the law, to back up his false claim!
24
      27315(e) Vehicle Code: “(e) A person 16 years of age or over shall not be a passenger in a motor vehicle
25    on a highway unless that person is properly restrained by a safety belt. This subdivision does not apply to
      a passenger in a sleeper berth, as defined in subdivision (x) of Section 1201 of Title 13 of the California
26    Code of Regulations.”
27    Exhibit #2 Weight Receipt- “County of San Bernardino SOLID WASTE MANAGEMENT DIVISION.

28                                                     PAGE 104
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1     Transaction #520932116 6/27/23 loc 52/ Heaps Peak. Time in 12:09 pm. Origins 739 Lake Arrowhead Ca
      92352. Trans Type: 120 Land Use. Weight Net: 2,240 lbs (1.12 tons) Å That’s a lot of trash!
2
      Both officers were informed that we had just left the Running Spring Dump, after dumping trash. (Solid
3     waste removal) Even after being informed that, and knowing our business card says, Hauling” which
      would exempt us from even using seatbelts, still stubbornly gave seat belt ticket. “Garbage truck drivers,
4
      & persons who work frequently entering & leaving vehicle”.
5
      Exhibit #3 Proof of prior knowledge–Yet Sergeant knew we dumped trash, as printed on our business
6     card in neon orange; that he had when Macy’s had worked for him previously.

7
      “(o) This section does not apply to a driver actually engaged in the collection of solid waste or recyclable
      materials along that driver’s collection route if the driver is properly restrained by a safety belt prior to
8     commencing and subsequent to completing the collection route.”

9     Also: §220 (5) Subsection (4) does not apply to a person:

10    “(c) who is actually engaged in work that requires him or her to alight from and re-enter the motor vehicle
      at frequent intervals and who, while engaged in that work, does not drive or travel in that vehicle at a
11    speed exceeding 40 km/h,” –We were driving under the 35mph speed limit on HWY 18. All our other
      trash, weed abatement clean-up (branches, leaves, trash wood, debris) roads are even slower mountain
12    hilly roads.
13    Fishing for reason to give “click-it-or-ticket” seatbelt violation ticket to gain money, based on suspicion
      out of view by officer Bates parked on other side of road. On his… “possibility there was not a seatbelt
14
      present”? Yet ticket even says “…secured by a non-factory equipped seat belt” –Word for word from
15    officer Bates. “Opportunities for Law Enforcement to harass minority groups” (St. Lois et. Al, 2011) –
      This can be against a race, religion or any targeted type, including people with criminal records. Jeff
16    Macy had already filed a Federal Lawsuit against San Bernardino County. Seemed like a suspiciously
      targeted stop.
17
      (Exhibit # History TBD) Still waiting for Public Records request incident reports from said Highway
18    Patrol) History: 1-2 years ago Highway patrol illegally towed same exact truck. A Highway patrol officer
      lied writing ticket that Macy’s Isuzu box truck was blocking a private road & blocking a fire hydrant. Was
19
      another false ticket (we had photo of truck position showing past the 15’ side legal requirement. A
20    Highway Patrol officer willingly lied, assumed to continue harassing Jeff Macy and get money through
      fake fines unjustly. On appeal was found again, Jeff Macy was correct, no violations or valid ticket. Being
21    another error (intentional police misconduct) ticket dropped. Costing Mr. Macy thousands of dollars to
      get work truck out of impound. Highway Patrol had truck towed all the way out of San Bernardino
22
      County to Hesperia Ca. (Another violation of Federal law). Truck should not have been towed by
23    Highway Patrol command from the side of the road; a private property on a private road. Other times
      looked like same officer of Highway Patrol was driving around my neighborhood for no reason. Slowed
24    down stared at us for no reason, as if looking to stop us again for doing nothing wrong. Next year
      Highway Patrol pulled over Jeff Macy for suspicion of not have a seatbelt for 4th passenger. After
25    inspection seeing 4th legal safe seatbelt, said we were ok and free to leave. (Wasted 15 minutes of our
26    lives for his fishing expedition). Mr. Macy left without further incident. Numerous other times Highway
      Patrol came out, drove up my private road “Augusta Way”, asking Mr. Macy questions about vehicles
27    parked on the side of his own property. This is a clear pattern of unjust harassment.

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1     Exhibit #4 CPRA Request Letter. Jeff Macy has requested numerous times for documents and recording
      from Highway Patrol local office, dispatch & directly through public records request office locally and
2
      Sacramento. Any infractions/incidents/reports/driving on Augusta Way, Lake Arrowhead Ca or tickets to
3     "Jeffrey Macy" by highway patrol or traffic stops last 10 years. (1 Example request not fulfilled).
       San Bernardino County Public Request #23-3765 (Running Springs Ca Highway Patrol)
4
      Mr. Macy alleges Running Springs Ca. Highway Patrol is actively covering up &/or failing to follow the
5
      10-day Legal requirement to disclose and provide said documents. Only response Mr. Macy has received
6     was a letter on April 07, 2023 file # 801.13318.a14522. Which, just repeated the requests I asked for from
      Highway Patrol numerous times; for evidence of suspicion of crimes/cover-up/negligence by
7     Burtec/Highway Patrol. I called office & mailed back response saying, YES, give me the evidence
      requested already to Highway patrol by D.J. Minor, Chief’s confirmation of request.
8
      Macy’s were 100% cooperative, peaceful at all times and provided all documents requested during illegal
9     traffic stop. (Driver’s License, Registration & Proof of insurance- all valid, up to date)
10    (Macy’s have HD video/audio of clear recording of illegal traffic stop, which started after realizing
      Officer was not going to let us go home). All accusations are true based on MACY’s video recording and
11
      4 adult Macy witnesses. Traffic infraction ticket hopefully will get dismissed soon. We have the right &
12    just to file Federal Lawsuits against said Officers, and Running Springs Highway Patrol for: gross
      negligence, civil rights violations, harassment, government invasion of privacy, emotional distress (1871
13    (42 § 1983), illegal detainment, false arrest, cover-up; forcing citizens to have to go to out of area (Lake
      Arrowhead, San Bernardino CA too far away Fontana, Ca to contest/appear/appeal; against right to a trial
14    by own peers (own area [Lake Arrowhead Ca, San Bernardino County.] we live in), not even in the same
15    Town (Fontana, Ca). 50-minute drive down the hill in a car, if no traffic.

16
                             Exhibit #5 San Bernardino County Public Request #23-3765
17
      California running springs Highway Patrol oﬃcer "Bates" badge id #18392
18
      on: 6-27-23 12:55 to 1:45pm Tuesday.
19
      1) Full name and badge numbers of "oﬃcer "Bates" & his responding sergeant “Obrien”.
20
      2) All/both highway patrol car’s video/audio records of traﬃc stop cket# LQ 30682
21
      3) All audio & or videos on body cameras of both oﬃcers involved in traﬃc infrac on stop.
22
      4) Any & all stops/tows of Isuzu npr truck by highway patrol last 10 years or this white box truck: 2018
23    Isuzu npr lic # 17394g3
24    5) Any infrac ons/incidents/reports/driving on Augusta Way, Lake Arrowhead Ca or ckets to "Jeﬀrey
      Macy" by highway patrol or traﬃc stops last 10 years.
25
      6) All full names of any highway patrol oﬃcers in any of the said above requests. DMV internal aﬀairs
26
      contact number, address.
27

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1     7) All final verdict/s or outcomes of highway patrol stops or ckets from highway patrol last 10 years
      related to said truck or related to Jeﬀrey Lloyd Macy.
2
      8) Name/s of public recorders request workers who are responsible for replying to any public requests
3
      made the last 2 years from Jeﬀ Macy of any department; provide within 10 days.
4
      9) Any documents/laws/vehicle codes or regula on or policy’s related to oﬃcers who are supposed to
5     iden fy themselves or provide business card or answer ques ons related to a traﬃc policy/traﬃc stop of
      running spring highway patrol oﬃce or current California laws.
6
      Mail all documents or e-mail to: Jeﬀ Macy P.O. box #103 twin peaks ca 92391. (loveothersas@gmail.com)
7
      Any ques ons Jeﬀ Macy 909-744-8480 home, 909-915-5554 cell phone. All evidence within 10 days as
8     Highway Patrol no ce to appear court date upcoming.

9                                                        Adding after traffic stop:
          1.  How many traffic tickets have been given out last 5 years from running springs Highway Patrol that are
10            financially motivated?
          2. Where does the money go from fines collected by the Highway Patrol?
11        3. Does officer Bates gain anything by giving out tickets, or instructed to look for seat belt infractions?
          4. Does officer Bates give out more tickets than other Highway Patrol officers from same office?
12        5. What percentage compared to other Officers from same office last years?
          6. How many traffic tickets has officer Bates given out last 5 years?
13        7. What is the average amount of traffic tickets other Highway Patrol Officers gave out in last year?
          8. Average amount of traffic tickets Officer Bates Highway Patrol Officer gave out in last year?
14        9. How many traffic tickets has officer bates given out this last year?
          10. How many complaints has this running springs office received?
15        11. How many complaints has officer Bates received while working for the Highway patrol?
          12. Are Highway Patrol officers from Running Springs expected to know the U.S. constitution?
16        13. What percentage of traffic tickets has been dismissed that were given out by Officer Bates?
          14. How much money has Officer Bates made for the Highway Patrol over his career via traffic tickets?
17        15. How much money has average Officers made for the Highway Patrol running springs over their career via
              traffic tickets?
18        16. How many arrests has Officer Bates made over simple traffic infractions that escalated?
          17. What is the average time that Officer Bates takes at his traffic stops over last 5 years?
19        18. Has Officer Bates ever discharged or fired his service weapon on duty?
          19. How many times has Officer Bated fired his gun/s, any weapon?
20        20. How many times has Officer Bated used any service duty weapons?
          21. Why did Officer Bates not have a business card with his name on it to give Mr. Macy?
21        22. Why was officer Bates name tag hidden, folded over during traffic stop?
          23. Is this policy that officer Bates uniform does not have to have name seen on it?
22        24. Is it policy that officer Bates does not have to answer questions about a traffic stop?

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28                                                      PAGE 107
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                                       Exhibit 18
28                                      PAGE 108
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                                       Exhibit 19
28                                      PAGE 110
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                                       Exhibit 20
28                                      PAGE 112
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                                       Exhibit 21
28                                      PAGE 114
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                                       Exhibit 22
28                                      PAGE 116
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1                                   Video Evidence:
2
                   h ps://www.youtube.com/watch?v=GvmaMonuPeo
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                                       Exhibit 23
28                                      PAGE 118
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                                       Exhibit 24
28                                      PAGE 120
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                                       Exhibit 25
28                                      PAGE 122
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                                       Exhibit 26
28                                      PAGE 126
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     GC 7927.705




                                              GC 7927.705
 GC 7927.705




 GC 7927.705
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                                         ID #:1120 Redaction Date: 3/13/2024 10:33:02 AM
       Redaction Log

       Total Number of Redactions in Document: 4


       Redaction Reasons by Page
        Page    Reason               Description                                Occurrences

                                     Information withheld pursuant to
                                     California Government Code 7927.705,
        1       GC 7927.705          which incorporates an individual’s right   4
                                     to privacy under the California
                                     Constitution (Cal. Const., art. I, 1).
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                                    ID #:1121 Redaction Date: 3/13/2024 10:33:02 AM
       Redaction Log

       Redaction Reasons by Exemption

        Reason               Description                                     Pages
                                                                             (Count)

                             Information withheld pursuant to California
                             Government Code 7927.705, which                 1(4)
        GC 7927.705          incorporates an individual’s right to privacy
                             under the California Constitution (Cal.
                             Const., art. I, 1).
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                                       Exhibit 27
28                                      PAGE 130
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   7   Attorneys for Defendants Christopher Bates
       and Jeffrey O'Brien
   8

   9

  10                        IN THE UNITED STATES DISTRICT COURT
  11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12

  13
       Jeff Macy, as an individual,                             5:23-CV-02245-RGK-BFM
  14
                                                Plaintiff, DEFENDANT CHRISTOPHER
  15                                                       BATES’ RESPONSES TO
                     v.                                    PLAINTIFF’S
  16                                                       INTERROGATORIES, SET ONE
  17   California Highway Patrol, a State
       Agency; Officer Christopher Bates;
  18   Supervisor Officer Sergeant Jeffrey
       O'Brien, and Does 1 - 10, inclusive,            Judge: Hon. Brianna Fuller Mircheff
  19                                                   Trial Date: TBA
                                           Defendants. Action Filed: 5/06/2024
  20

  21

  22

  23   PROPOUNDING PARTY:                     PLAINTIFF JEFF MACY
  24
       RESPONDING PARTY:                      DEFENDANT CHRISTOPHER BATES
  25

  26   SET NO.:                                ONE
  27

  28
                                                            1
           Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1                                   PRELIMINARY STATEMENT
   2           Defendant has not yet fully completed the investigation of the facts relating
   3   to this case and has not yet fully completed discovery in this action. All of the
   4   responses contained herein are based solely upon information and documents which
   5   are presently available to, and specifically known by Defendant and disclose only
   6   those contentions which presently occur to Defendant. It is anticipated that further
   7   discovery, independent investigation, legal research and analysis will supply
   8   additional facts and lead to additions, changes, and variations from the answers
   9   herein.
  10           The following responses are given without prejudice to the right to produce
  11   evidence or witnesses which Defendant may later discover. Defendant accordingly
  12   reserves the right to change any and all responses herein as additional facts are
  13   ascertained, witnesses identified, and legal research is completed. The responses
  14   contained herein are made in good faith in an attempt to supply as much factual
  15   information and as much specification of legal contention as is presently known and
  16   should in no way prejudice Defendant in relation to further discovery and
  17   proceedings.
  18                                 INTERROGATORY RESPONSES
  19   INTERROGATORY NO. 1:
  20           Provide a list of Defendants training on Plaintiff’s right to record an Officer
  21   on duty.
  22   RESPONSE TO INTERROGATORY NO. 1:
  23           Defendant objects that this interrogatory is vague and ambiguous.
  24   Additionally, Defendant objects to this interrogatory because it asks for a
  25   compilation, summary, or analysis of documents or information. Creating such a
  26   compilation or summary would require undue effort and is beyond the scope of
  27   standard discovery requests.
  28   ///
                                                              2
             Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1          Further, this interrogatory calls for information not reasonably calculated to
   2   lead to the discovery of admissible evidence relevant to this litigation since it is not
   3   relevant to the two remaining causes of action for (a) prolonged detention and (b)
   4   unlawful search and is not proportional to the needs of the case. The right to record
   5   a stop is not within the scope of the two remaining causes of action. See Fed. R.
   6   Civ. P. 16(b)(1).
   7   INTERROGATORY NO. 2:
   8          List all exhibits Defendants propose to introduce at trial.
   9   RESPONSE TO INTERROGATORY NO. 2:
  10          Defendant objects to this question as premature. He has not fully completed
  11   discovery and has not completed trial preparation. Defendant further objects to this
  12   interrogatory in that it requests information that will not be known until after
  13   additional discovery is completed. Defendant objects that this interrogatory is vague
  14   and ambiguous and calls for privileged information within the attorney-client
  15   privilege and seeks information that is protected by attorney’s work product.
  16   Additionally, Defendant objects to this interrogatory because it asks for a
  17   compilation, summary, or analysis of documents or information. Creating such a
  18   compilation or summary would require undue effort and is beyond the scope of
  19   standard discovery requests.
  20          Without waiving said objections, but subject to them, Defendant at the
  21   present time identifies the MVARS videos recorded by Defendant and Sergeant
  22   O’Brien during the subject stop of Plaintiff, Incident Detail Report of the subject
  23   stop, and Dispatch Audio. However, as discovery is only commencing on this
  24   matter, defendant reserves the right to identify additional exhibits hereto not yet
  25   identified.
  26   INTERROGATORY NO. 3:
  27          Identify each person whom the Defendant expects to call as an expert witness
  28   at trial, state the subject matter on which the expert is expected to testify & the
                                                             3
            Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   substance of the facts & opinions to which the expert is expected to testify, & a
   2   summary of the grounds for each opinion.
   3   RESPONSE TO INTERROGATORY NO. 3:
   4         Defendant objects to this question as premature as it seeks the results of any
   5   investigation performed in anticipation of litigation and discovery is ongoing.
   6   Defendant further objects to this interrogatory in that it requests information that is
   7   unknown at this time and therefore, Defendant is unable to respond. Defendant
   8   further objects that this interrogatory is vague and ambiguous and calls for
   9   privileged information within the attorney-client privilege and seeks information
  10   that is protected by attorney’s work product.
  11   INTERROGATORY NO. 4:
  12         Provide a list of Defendants training on seatbelts.
  13   RESPONSE TO INTERROGATORY NO. 4:
  14         Defendant objects that this interrogatory is vague and ambiguous.
  15   Additionally, Defendant objects to this interrogatory because it asks for a
  16   compilation, summary, or analysis of documents or information. Creating such a
  17   compilation or summary would require undue effort and is beyond the scope of
  18   standard discovery requests.
  19         Without waiving said objections, but subject to them, the responding party
  20   responds as follows: Responding Officer does not recall a training related solely the
  21   use of seatbelts. However, see Exhibit A listing of trainings the Responding Officer
  22   has received.
  23   INTERROGATORY NO. 5:
  24         Provide a list of Defendants training on identifying themselves.
  25   RESPONSE TO INTERROGATORY NO. 5:
  26         Defendant objects that this interrogatory is argumentative, vague and
  27   ambiguous. Additionally, Defendant objects to this interrogatory because it asks for
  28   a compilation, summary, or analysis of documents or information. Creating such a
                                                            4
           Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   compilation or summary would require undue effort and is beyond the scope of
   2   standard discovery requests.
   3         Further, this interrogatory is not relevant to the two remaining causes of
   4   action for (a) prolonged detention and (b) unlawful search and is not proportional to
   5   the needs of the case nor is it reasonably calculated to lead to the discovery of
   6   admissible evidence. And whether an officer identify themselves is not within the
   7   scope of the two remaining causes of action. See Fed. R. Civ. P. 16(b)(1).
   8   INTERROGATORY NO. 6:
   9         Provide a list of Defendants training on displaying nametags.
  10   RESPONSE TO INTERROGATORY NO. 6:
  11         Defendant objects that this interrogatory is argumentative, vague and
  12   ambiguous. Additionally, Defendant objects to this interrogatory because it asks for
  13   a compilation, summary, or analysis of documents or information. Creating such a
  14   compilation or summary would require undue effort and is beyond the scope of
  15   standard discovery requests.
  16         Further, this interrogatory is not relevant to the two remaining causes of
  17   action for (a) prolonged detention and (b) unlawful search and is not proportional to
  18   the needs of the case nor is it reasonably calculated to lead to the discovery of
  19   admissible evidence. And whether an officer displays a nametag is not within the
  20   scope of the two remaining causes of action. See Fed. R. Civ. P. 16(b)(1).
  21   INTERROGATORY NO. 7:
  22         Provide a list of Defendants training on entering vehicles without permission.
  23   RESPONSE TO INTERROGATORY NO. 7:
  24         Defendant objects that this interrogatory is vague, ambiguous, and
  25   argumentative. Defendant is unable to respond as the interrogatory as phrased since
  26   any response appears to seek an improper admission, Defendant objects as to form
  27   and the following response is not to be deemed any type of admission.
  28   Additionally, Defendant objects to this interrogatory because it asks for a
                                                            5
           Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   compilation, summary, or analysis of documents or information. Creating such a
   2   compilation or summary would require undue effort and is beyond the scope of
   3   standard discovery requests.
   4           Without waiving said objections, but subject to them, the responding party
   5   responds as follows: Responding Officer does not recall a training related solely
   6   entering vehicles without permission. However, the Responding Officer has
   7   attended training entitled Search and Seizure Online Refresher Training, Search and
   8   Seizure Review, and Search Warrants “A through Z”. Additionally Responding
   9   Officer received CHP Academy training and continues to participate on ongoing
  10   training and review on the rights of the general public, traffic laws, traffic stops,
  11   and similar circumstances where entering and searching a vehicle can arise. See
  12   Exhibit A listing of trainings the Responding Officer has received.
  13   INTERROGATORY NO. 8:
  14           Provide a list of Defendants training on trash companies & 3-point seatbelts.
  15   RESPONSE TO INTERROGATORY NO. 8:
  16           Defendant objects that this interrogatory is compound, vague and ambiguous.
  17   Additionally, Defendant objects to this interrogatory because it asks for a
  18   compilation, summary, or analysis of documents or information. Creating such a
  19   compilation or summary would require undue effort and is beyond the scope of
  20   standard discovery requests.
  21           Without waiving said objections, but subject to them, the responding party
  22   responds as follows: Responding Officer does not recall a training related solely on
  23   trash companies and 3-point seatbelts. However, the Responding Officer received
  24   CHP Academy training and continues to participate on ongoing training and review
  25   on the rights of the general public, and traffic laws. See Exhibit A listing of
  26   trainings the Responding Officer has received.
  27   ///
  28   ///
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             Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   INTERROGATORY NO. 9:
   2         Provide a list of Defendants training on passengers not wearing a seatbelt.
   3   RESPONSE TO INTERROGATORY NO. 9:
   4         Defendant objects that this interrogatory is argumentative, vague and
   5   ambiguous. Additionally, Defendant objects to this interrogatory because it asks for
   6   a compilation, summary, or analysis of documents or information. Creating such a
   7   compilation or summary would require undue effort and is beyond the scope of
   8   standard discovery requests.
   9         Without waiving said objections, but subject to them, the responding party
  10   responses as follows: Responding Officer does not recall a training related solely
  11   the use of seatbelts. However, the Responding Officer received CHP Academy
  12   training and continues to participate on ongoing training and review on the rights of
  13   the general public, and traffic laws. See Exhibit A listing of trainings the
  14   Responding Officer has received.
  15   INTERROGATORY NO. 10:
  16         Provide a list of Defendants training on how long they can detain someone.
  17   RESPONSE TO INTERROGATORY NO. 10:
  18         Defendant objects that this interrogatory is overbroad as to the term “they”,
  19   vague, and ambiguous. Additionally, Defendant objects to this interrogatory
  20   because it asks for a compilation, summary, or analysis of documents or
  21   information. Creating such a compilation or summary would require undue effort
  22   and is beyond the scope of standard discovery requests.
  23         Without waiving said objections, but subject to them, Responding Officer
  24   does not recall a training related solely the length detention can last. However,
  25   Defendant has attended training entitled Search and Seizure Online Refresher
  26   Training; Search and Seizure Review; Search Warrants “A through Z”; Arrest and
  27   Control; Arrest and Control/ Use of Force; and Arrest and Control New Tech and
  28   Initial RCB, and other training with similar topics. Additionally, Responding
                                                            7
           Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   Officer received CHP Academy training and continues to participate on ongoing
   2   training and review on the rights of the general public, search and seizure, and
   3   traffic laws. See Exhibit A listing of trainings the Responding Officer has received.
   4   INTERROGATORY NO. 11:
   5         Provide a list of Defendants training on whether or not the driver is
   6   responsible for passengers wearing a seatbelt.
   7   RESPONSE TO INTERROGATORY NO. 11:
   8         Defendant objects that this interrogatory as it is repetitive, calls for a legal
   9   opinion or conclusion, is overly burdensome and harassing. Defendant previously
  10   answered a question related to seatbelt training, see responses to Interrogatories #8
  11   and #9. Furthermore, Defendant objects to this interrogatory because it is vague
  12   and ambiguous as to the term “responsible” and it also calls for a legal opinion or
  13   conclusion. Additionally, Defendant objects to this interrogatory because it asks
  14   for a compilation, summary, or analysis of documents or information. Creating such
  15   a compilation or summary would require undue effort and is beyond the scope of
  16   standard discovery requests.
  17         Without waiving said objections, but subject to them, the responding party
  18   responds as follows: Responding Officer does not recall a training related solely to
  19   whether a driver is responsible for passengers wearing seatbelts. However, the
  20   Responding Officer received CHP Academy training and continues to participate
  21   on ongoing training and review on the rights of the general public, and traffic laws.
  22   See Exhibit A listing of trainings the Responding Officer has received.
  23   INTERROGATORY NO. 12:
  24         Provide a list on how long Defendant was trained & trained on what
  25   specifically.
  26   RESPONSE TO INTERROGATORY NO. 12:
  27         Defendant objects that this interrogatory is overbroad as to scope and time,
  28   vague, ambiguous, repetitive, overly burdensome, and harassing. Defendant
                                                            8
           Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   previously answered interrogatories related to Defendant’s training and has
   2   provided a listing of trainings the Officer has received. Additionally, Defendant
   3   objects to this interrogatory because it asks for a compilation, summary, or analysis
   4   of documents or information. Creating such a compilation or summary would
   5   require undue effort and is beyond the scope of standard discovery requests.
   6         Without waiving said objections, but subject to them, the Responding Officer
   7   refers to a list of trainings he has attended. See Exhibit A, listing of training the
   8   Responding Officer has received.
   9   INTERROGATORY NO. 13:
  10         Provide unedited videos of both Defendants camera/dashcam of Traffic stop.
  11   RESPONSE TO INTERROGATORY NO. 13:
  12         Defendant objects that this interrogatory is overbroad as to time, vague and
  13   ambiguous as to the term “Traffic stop” and unduly burdensome. Furthermore,
  14   Plaintiff appears to be requesting the production of a record without complying
  15   with applicable discovery laws. Defendant is unable to thoughtfully respond to this
  16   interrogatory.
  17   INTERROGATORY NO. 14:
  18         State the name(s), business address(es) & job title(s) or capacity(ies) of the
  19   officer(s), employee(s) or agent(s) answering or providing any information used to
  20   answer each interrogatory.
  21   RESPONSE TO INTERROGATORY NO. 14:
  22         Defendant objects to the interrogatory the grounds that it is burdensome,
  23   harassing, and intended to intimidate. Furthermore, the information sought is not
  24   relevant nor is it reasonably calculated to lead to discoverable information.
  25   Defendant further objects that such information is confidential because it seeks
  26   information protected by a right to privacy. Further, Government Code Sections
  27   6254.3 and 7298.300 provide that the home address, home telephone number,
  28   personal cellular telephone numbers, and birth dates of all employees of a public
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           Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   agency are not public records and shall not be available for public inspection.
   2   Without waiving said objections, but subject to them, Defendant identifies himself,
   3   who can be contacted through his undersigned counsel, and legal counsel.
   4   INTERROGATORY NO. 15:
   5           Identify & describe each document & record known to Defendants which are
   6   related to Plaintiff.
   7   RESPONSE TO INTERROGATORY NO. 15:
   8           Defendant objects that this interrogatory is overbroad as to scope and time,
   9   vague, ambiguous, and seeks information that is privileged pursuant to the
  10   Attorney-client communications, attorney work product, and official information
  11   privileges. Additionally, Defendant objects to this interrogatory because it asks for
  12   a compilation, summary, or analysis of documents or information. Creating such a
  13   compilation or summary would require undue effort and is beyond the scope of
  14   standard discovery requests. Furthermore, the interrogatory calls for information
  15   that is not reasonably calculated to lead to the discovery of admissible evidence and
  16   thus irrelevant to the remaining causes of action for (a) prolonged detention and (b)
  17   unlawful search and is not proportional to the needs of the case.
  18           Without waiving said objections, but subject to them, Defendant identifies
  19   the Incident Detail Report, Dispatch Audio, MVARS, Plaintiff’s government
  20   claim/complaint and related documents regarding the subject stop, and documents
  21   related to the present lawsuit.
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             Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1 Dated: September 16, 2024                                 Respectfully submitted,
                                                               Rob Bonta
   2
                                                               Attorney General of California
   3                                                           Iveta Ovsepyan
                                                               Senior Assistant Attorney General
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   5

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   7                                                           Julio A. Hernandez
   8                                                           Deputy Attorney General
                                                               Attorneys for Defendants Christopher
   9                                                           Bates and Jeffrey O'Brien
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            Defendant Christopher Bates’ Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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27
                                       Exhibit 28
28                                      PAGE 192
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       and Jeffrey O'Brien
   8

   9

  10                       IN THE UNITED STATES DISTRICT COURT
  11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12

  13
       Jeff Macy, as an individual,                             5:23-CV-02245-RGK-BFM
  14
                                                Plaintiff, DEFENDANT JEFFREY
  15                                                       O’BRIEN’S RESPONSES TO
                     v.                                    PLAINTIFF’S
  16                                                       INTERROGATORIES, SET ONE
  17   California Highway Patrol, a State
       Agency; Officer Christopher Bates;
  18   Supervisor Officer Sergeant Jeffrey
       O'Brien, and Does 1 - 10, inclusive,            Judge: Hon. Brianna Fuller Mircheff
  19                                                   Trial Date: TBA
                                           Defendants. Action Filed: 5/06/2024
  20

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  23   PROPOUNDING PARTY:                     PLAINTIFF JEFF MACY
  24
       RESPONDING PARTY:                      DEFENDANT JEFFREY O’BRIEN
  25

  26   SET NO.:                               ONE
  27

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                                                            1
            Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1                                  PRELIMINARY STATEMENT
   2          Defendant has not yet fully completed the investigation of the facts relating
   3   to this case and has not yet fully completed discovery in this action. All of the
   4   responses contained herein are based solely upon information and documents which
   5   are presently available to, and specifically known by Defendant and disclose only
   6   those contentions which presently occur to Defendant. It is anticipated that further
   7   discovery, independent investigation, legal research and analysis will supply
   8   additional facts and lead to additions, changes, and variations from the answers
   9   herein.
  10          The following responses are given without prejudice to the right to produce
  11   evidence or witnesses which Defendant may later discover. Defendant accordingly
  12   reserves the right to change any and all responses herein as additional facts are
  13   ascertained, witnesses identified, and legal research is completed. The responses
  14   contained herein are made in good faith in an attempt to supply as much factual
  15   information and as much specification of legal contention as is presently known and
  16   should in no way prejudice Defendant in relation to further discovery and
  17   proceedings.
  18                                INTERROGATORY RESPONSES
  19   INTERROGATORY NO. 1:
  20          Provide a list of Defendants training on Plaintiff’s right to record an Officer
  21   on duty.
  22   RESPONSE TO INTERROGATORY NO. 1:
  23          Defendant objects that this interrogatory is vague and ambiguous.
  24   Additionally, Defendant objects to this interrogatory because it asks for a
  25   compilation, summary, or analysis of documents or information. Creating such a
  26   compilation or summary would require undue effort and is beyond the scope of
  27   standard discovery requests.
  28   ///
                                                             2
             Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1         Further, this interrogatory calls for information not reasonably calculated to
   2   lead to the discovery of admissible evidence relevant to this litigation since it is not
   3   relevant to the two remaining causes of action for (a) prolonged detention and (b)
   4   unlawful search and is not proportional to the needs of the case. The right to record
   5   a stop is not within the scope of the two remaining causes of action. See Fed. R.
   6   Civ. P. 16(b)(1).
   7   INTERROGATORY NO. 2:
   8         List all exhibits Defendants propose to introduce at trial.
   9   RESPONSE TO INTERROGATORY NO. 2:
  10         Defendant objects to this question as premature. He has not fully completed
  11   discovery and has not completed trial preparation. Defendant further objects to this
  12   interrogatory in that it requests information that will not be known until after
  13   additional discovery is completed. Defendant objects that this interrogatory is vague
  14   and ambiguous and calls for privileged information within the attorney-client
  15   privilege and seeks information that is protected by attorney’s work product.
  16   Additionally, Defendant objects to this interrogatory because it asks for a
  17   compilation, summary, or analysis of documents or information. Creating such a
  18   compilation or summary would require undue effort and is beyond the scope of
  19   standard discovery requests.
  20         Without waiving said objections, but subject to them, Defendant at the
  21   present time identifies the MVARS videos recorded by Defendant and Officer
  22   Bates during the subject stop of Plaintiff, Incident Detail Report of the subject stop,
  23   and Dispatch Audio. However, as discovery is only commencing on this matter,
  24   defendant reserves the right to identify additional exhibits hereto not yet identified.
  25   INTERROGATORY NO. 3:
  26         Identify each person whom the Defendant expects to call as an expert witness
  27   at trial, state the subject matter on which the expert is expected to testify & the
  28   substance of the facts & opinions to which the expert is expected to testify, & a
                                                            3
            Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   summary of the grounds for each opinion.
   2   RESPONSE TO INTERROGATORY NO. 3:
   3         Defendant objects to this question as premature as it seeks the results of any
   4   investigation performed in anticipation of litigation and discovery is ongoing.
   5   Defendant further objects to this interrogatory in that it requests information that is
   6   unknown at this time and therefore, Defendant is unable to respond. Defendant
   7   further objects that this interrogatory is vague and ambiguous and calls for
   8   privileged information within the attorney-client privilege and seeks information
   9   that is protected by attorney’s work product.
  10   INTERROGATORY NO. 4:
  11         Provide a list of Defendants training on seatbelts.
  12   RESPONSE TO INTERROGATORY NO. 4:
  13         Defendant objects that this interrogatory is vague and ambiguous.
  14   Additionally, Defendant objects to this interrogatory because it asks for a
  15   compilation, summary, or analysis of documents or information. Creating such a
  16   compilation or summary would require undue effort and is beyond the scope of
  17   standard discovery requests.
  18         Without waiving said objections, but subject to them, the responding party
  19   responds as follows: Responding Officer does not recall a training related solely the
  20   use of seatbelts. However, see Exhibit A listing of trainings the Responding Officer
  21   has received.
  22   INTERROGATORY NO. 5:
  23         Provide a list of Defendants training on identifying themselves.
  24   RESPONSE TO INTERROGATORY NO. 5:
  25         Defendant objects that this interrogatory is argumentative, vague and
  26   ambiguous. Additionally, Defendant objects to this interrogatory because it asks for
  27   a compilation, summary, or analysis of documents or information. Creating such a
  28   compilation or summary would require undue effort and is beyond the scope of
                                                            4
            Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   standard discovery requests.
   2         Further, this interrogatory is not relevant to the two remaining causes of
   3   action for (a) prolonged detention and (b) unlawful search and is not proportional to
   4   the needs of the case nor is it reasonably calculated to lead to the discovery of
   5   admissible evidence. And whether an officer identify themselves is not within the
   6   scope of the two remaining causes of action. See Fed. R. Civ. P. 16(b)(1).
   7   INTERROGATORY NO. 6:
   8         Provide a list of Defendants training on displaying nametags.
   9   RESPONSE TO INTERROGATORY NO. 6:
  10         Defendant objects that this interrogatory is argumentative, vague and
  11   ambiguous. Additionally, Defendant objects to this interrogatory because it asks for
  12   a compilation, summary, or analysis of documents or information. Creating such a
  13   compilation or summary would require undue effort and is beyond the scope of
  14   standard discovery requests.
  15         Further, this interrogatory is not relevant to the two remaining causes of
  16   action for (a) prolonged detention and (b) unlawful search and is not proportional to
  17   the needs of the case nor is it reasonably calculated to lead to the discovery of
  18   admissible evidence. And whether an officer displays a nametag is not within the
  19   scope of the two remaining causes of action. See Fed. R. Civ. P. 16(b)(1).
  20   INTERROGATORY NO. 7:
  21         Provide a list of Defendants training on entering vehicles without permission.
  22   RESPONSE TO INTERROGATORY NO. 7:
  23         Defendant objects that this interrogatory is vague, ambiguous, and
  24   argumentative. Defendant is unable to respond as the interrogatory as phrased since
  25   any response appears to seek an improper admission, Defendant objects as to form
  26   and the following response is not to be deemed any type of admission.
  27   Additionally, Defendant objects to this interrogatory because it asks for a
  28   compilation, summary, or analysis of documents or information. Creating such a
                                                            5
            Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   compilation or summary would require undue effort and is beyond the scope of
   2   standard discovery requests.
   3          Without waiving said objections, but subject to them, the responding party
   4   responds as follows: Responding Officer does not recall a training related solely
   5   entering vehicles without permission. However, the Responding Officer has
   6   attended training entitled Search and Seizure Online Refresher Training, Search and
   7   Seizure Review, and Search Warrants “A through Z”. Additionally Responding
   8   Officer received CHP Academy training and continues to participate on ongoing
   9   training and review on the rights of the general public, traffic laws, traffic stops,
  10   and similar circumstances where entering and searching a vehicle can arise. See
  11   Exhibit A listing of trainings the Responding Officer has received.
  12   INTERROGATORY NO. 8:
  13          Provide a list of Defendants training on trash companies & 3-point seatbelts.
  14   RESPONSE TO INTERROGATORY NO. 8:
  15          Defendant objects that this interrogatory is compound, vague and ambiguous.
  16   Additionally, Defendant objects to this interrogatory because it asks for a
  17   compilation, summary, or analysis of documents or information. Creating such a
  18   compilation or summary would require undue effort and is beyond the scope of
  19   standard discovery requests.
  20          Without waiving said objections, but subject to them, the responding party
  21   responds as follows: Responding Officer does not recall a training related solely on
  22   trash companies and 3-point seatbelts. However, the Responding Officer received
  23   CHP Academy training and continues to participate on ongoing training and review
  24   on the rights of the general public, and traffic laws. See Exhibit A listing of
  25   trainings the Responding Officer has received.
  26   INTERROGATORY NO. 9:
  27          Provide a list of Defendants training on passengers not wearing a seatbelt.
  28   ///
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             Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   RESPONSE TO INTERROGATORY NO. 9:
   2         Defendant objects that this interrogatory is argumentative, vague and
   3   ambiguous. Additionally, Defendant objects to this interrogatory because it asks for
   4   a compilation, summary, or analysis of documents or information. Creating such a
   5   compilation or summary would require undue effort and is beyond the scope of
   6   standard discovery requests.
   7         Without waiving said objections, but subject to them, the responding party
   8   responses as follows: Responding Officer does not recall a training related solely
   9   the use of seatbelts. However, the Responding Officer received CHP Academy
  10   training and continues to participate on ongoing training and review on the rights of
  11   the general public, and traffic laws. See Exhibit A listing of trainings the
  12   Responding Officer has received.
  13   INTERROGATORY NO. 10:
  14         Provide a list of Defendants training on how long they can detain someone.
  15   RESPONSE TO INTERROGATORY NO. 10:
  16         Defendant objects that this interrogatory is overbroad as to the term “they”,
  17   vague, and ambiguous. Additionally, Defendant objects to this interrogatory
  18   because it asks for a compilation, summary, or analysis of documents or
  19   information. Creating such a compilation or summary would require undue effort
  20   and is beyond the scope of standard discovery requests.
  21         Without waiving said objections, but subject to them, Responding Officer
  22   does not recall a training related solely the length detention can last. However,
  23   Defendant has attended training entitled Search and Seizure Online Refresher
  24   Training; Search and Seizure Review; Search Warrants “A through Z”; Arrest and
  25   Control; Arrest and Control/ Use of Force; and Arrest and Control New Tech and
  26   Initial RCB, and other training with similar topics. Additionally, Responding
  27   Officer received CHP Academy training and continues to participate on ongoing
  28   training and review on the rights of the general public, search and seizure, and
                                                            7
            Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   traffic laws. See Exhibit A listing of trainings the Responding Officer has received.
   2   INTERROGATORY NO. 11:
   3         Provide a list of Defendants training on whether or not the driver is
   4   responsible for passengers wearing a seatbelt.
   5   RESPONSE TO INTERROGATORY NO. 11:
   6         Defendant objects that this interrogatory as it is repetitive, calls for a legal
   7   opinion or conclusion, is overly burdensome and harassing. Defendant previously
   8   answered a question related to seatbelt training, see responses to Interrogatories #8
   9   and #9. Furthermore, Defendant objects to this interrogatory because it is vague
  10   and ambiguous as to the term “responsible” and it also calls for a legal opinion or
  11   conclusion. Additionally, Defendant objects to this interrogatory because it asks
  12   for a compilation, summary, or analysis of documents or information. Creating such
  13   a compilation or summary would require undue effort and is beyond the scope of
  14   standard discovery requests.
  15         Without waiving said objections, but subject to them, the responding party
  16   responds as follows: Responding Officer does not recall a training related solely to
  17   whether a driver is responsible for passengers wearing seatbelts. However, the
  18   Responding Officer received CHP Academy training and continues to participate
  19   on ongoing training and review on the rights of the general public, and traffic laws.
  20   See Exhibit A listing of trainings the Responding Officer has received.
  21   INTERROGATORY NO. 12:
  22         Provide a list on how long Defendant was trained & trained on what
  23   specifically.
  24   RESPONSE TO INTERROGATORY NO. 12:
  25         Defendant objects that this interrogatory is overbroad as to scope and time,
  26   vague, ambiguous, repetitive, overly burdensome, and harassing. Defendant
  27   previously answered interrogatories related to Defendant’s training and has
  28   provided a listing of trainings the Officer has received. Additionally, Defendant
                                                            8
            Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   objects to this interrogatory because it asks for a compilation, summary, or analysis
   2   of documents or information. Creating such a compilation or summary would
   3   require undue effort and is beyond the scope of standard discovery requests.
   4         Without waiving said objections, but subject to them, the Responding Officer
   5   refers to a list of trainings he has attended. See Exhibit A, listing of training the
   6   Responding Officer has received.
   7   INTERROGATORY NO. 13:
   8         Provide unedited videos of both Defendants camera/dashcam of Traffic stop.
   9   RESPONSE TO INTERROGATORY NO. 13:
  10         Defendant objects that this interrogatory is overbroad as to time, vague and
  11   ambiguous as to the term “Traffic stop” and unduly burdensome. Furthermore,
  12   Plaintiff appears to be requesting the production of a record without complying
  13   with applicable discovery laws. Defendant is unable to thoughtfully respond to this
  14   interrogatory.
  15   INTERROGATORY NO. 14:
  16         State the name(s), business address(es) & job title(s) or capacity(ies) of the
  17   officer(s), employee(s) or agent(s) answering or providing any information used to
  18   answer each interrogatory.
  19   RESPONSE TO INTERROGATORY NO. 14:
  20         Defendant objects to the interrogatory the grounds that it is burdensome,
  21   harassing, and intended to intimidate. Furthermore, the information sought is not
  22   relevant nor is it reasonably calculated to lead to discoverable information.
  23   Defendant further objects that such information is confidential because it seeks
  24   information protected by a right to privacy. Further, Government Code Sections
  25   6254.3 and 7298.300 provide that the home address, home telephone number,
  26   personal cellular telephone numbers, and birth dates of all employees of a public
  27   agency are not public records and shall not be available for public inspection.
  28   Without waiving said objections, but subject to them, Defendant identifies himself,
                                                            9
            Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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   1   who can be contacted through his undersigned counsel, and legal counsel.
   2   INTERROGATORY NO. 15:
   3          Identify & describe each document & record known to Defendants which are
   4   related to Plaintiff.
   5   RESPONSE TO INTERROGATORY NO. 15:
   6          Defendant objects that this interrogatory is overbroad as to scope and time,
   7   vague, ambiguous, and seeks information that is privileged pursuant to the
   8   Attorney-client communications, attorney work product, and official information
   9   privileges. Additionally, Defendant objects to this interrogatory because it asks for
  10   a compilation, summary, or analysis of documents or information. Creating such a
  11   compilation or summary would require undue effort and is beyond the scope of
  12   standard discovery requests. Furthermore, the interrogatory calls for information
  13   that is not reasonably calculated to lead to the discovery of admissible evidence and
  14   thus irrelevant to the remaining causes of action for (a) prolonged detention and (b)
  15   unlawful search and is not proportional to the needs of the case.
  16          Without waiving said objections, but subject to them, Defendant identifies
  17   the Incident Detail Report, Dispatch Audio, MVARS, Plaintiff’s government
  18   claim/complaint and related documents regarding the subject stop, and documents
  19   related to the present lawsuit.
  20 Dated: September 16, 2024                                 Respectfully submitted,
                                                               Rob Bonta
  21
                                                               Attorney General of California
  22                                                           Iveta Ovsepyan
                                                               Senior Assistant Attorney General
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  26                                                           Julio A. Hernandez
                                                               Deputy Attorney General
  27
                                                               Attorneys for Defendants
  28                                                           Christopher Bates and Jeffrey O'Brien
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             Defendant Jeffrey O’Brien’s Responses to Plaintiff’s Interrogatories, Set One (5:23-CV-02245-RGK-BFM)
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28                                      PAGE 248
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28                                      PAGE 250
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1                        Office of Risk & Insurance Management Failure of Duty.
2
                         CLAIM AGAINST CA HIGHWAY PATROL OFFICE OF RISK & INSURANCE
3
                                  MANAGEMENT; FAILURE OF DUTY
4
                                       Claim # GCP202301489
5

6             Evidence 100% proof: Video of California Highway Patrol’s illegal Traffic

7       Stop on June 27: factually Macy’s won 2-day trial; for said illegal traffic stop!
8
                       https://www.youtube.com/watch?v=GvmaMonuPeo
9
            Office     of      Risk     &       Insurance        Management           website.
10

11    (https://www.dgs.ca.gov/ORIM)         Legally   States:   “Any   person   can    file   a
12
      government claim for damages believed to be caused by the state of California
13
      due to the action or inaction of its employees.”
14

15
            Office of Risk & Insurance Management stated, “The claim involves

16    complex issues that are beyond the scope of analysis & legal interpretation
17
      typically undertaken by the GCP. Claims involving complex issues are best
18
      determined by the courts.       Therefore, staff did not make a determination
19

20    regarding the merit of the claim, & it is being rejected so you can initiate court

21    action if you choose to pursue this matter further.”
22
            California Government code 910.8. “If, in the opinion of the board or the
23
      person designated by it, a claim as presented fails to comply substantially with
24

25    the requirements of Sections 910 & 910.2, or with the requirements of a form
26
      provided under Section 910.4 if a claim is presented pursuant thereto, the board
27

28                                            PAGE 251
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1     or the person may, at any time within 20 days after the claim is presented, give
2
      written notice of its insufficiency, stating with particularity the defects or omissions
3
      therein. The notice shall be given in the manner prescribed by Section 915.4. The
4

5     board may not take action on the claim for a period of 15 days after the notice

6     is given”.
7
            Risk & Insurance Management office has failed to state particularly the
8

9     defect or omissions therein; legal requirement! Risk & Insurance Management did

10    not present the claim to have failed to comply substantially. (School teaches 1-
11
      page minimum explanation). Risk & Insurance Management denied Macy’s valid
12
      claim for compensation against California Highway Patrol. Risk & Insurance
13

14    Management did not even make a determination regarding the merit of the

15    claim. Risk & Insurance Management- Legally States: “…must settle valid claims!”
16
      & “…required to settle valid claims to save government lengthy & expensive
17

18    lawsuits.”

19           Risk & Insurance Management has refused to meet with the Macys or talk
20
      about claim. Macy’s have gotten no phone calls, no long letter explaining
21
      particularly the defect or omissions. Risk & Insurance Management has failed to
22

23    do Risk Management’s legal duty.

24
                                       Claim for Just Compensation ($)
25
                               "PROPERTY OWNERSHIP FAIRNESS ACT"
26                   ARTICLE 2.5 Property Ownership Fairness Act 6 38-2.5-101.
27

28                                           PAGE 252
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1            Property Ownership Fairness Act Legally States: “…includes a simple
2
      process to file a claim for compensation, designed to allow government &
      property owners to negotiate a settlement without having to go to court.” (II) “A
3     PREVAILING PLAINTIFF IN AN ACTION FOR JUST COMPENSATION BROUGHT
      PURSUANT TO THIS SECTION MAY BE AWARDED COSTS, EXPENSES, AND
4
      REASONABLE ATTORNEY FEES.”
5            Legal Facts: “Within 3 years of the time the restriction on use is first applied
      to property, the owner must send a simple letter to the government requesting
6     just compensation. No clumsy, time-consuming administrative review process is
7     involved. Instead, the government has 90 days to decide whether to restore the
      property rights by waiving the land-use restriction or to pay the owner for taking
8     those rights away. If the government chooses not to apply the restriction, that
      waiver can be passed down to later owners of the property. If the government
9
      either rejects the claim letter or takes no action within 3 months, the owner can
10    ask a court to order compensation. & because the government must pay a
      successful property owner’s legal bill, bureaucrats have an incentive to
11
      cooperate & resolve disputes before going to court.”
12           Property Ownership Fairness Act. Legal Facts: Fairness Act, “Was designed
      to enable private citizens to file a claim without having to hire an attorney.
13    Lowering the costs & burdens of establishing a claim increases the likelihood of
14    settlement without lengthy & expensive lawsuits, & helps discourage governments
      from exploiting property owners who do not know the law. Act is therefore a
15    substantial improvement over the efforts by some states to protect people from
      regulatory takings, for most states have not done much to reduce the difficult
16
      process of filing claims.”
17
            Florida’s Harris Act. State courts call it, “COMPLEX PRESUIT REQUIREMENTS.”
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28                                           PAGE 253
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28                                      PAGE 254
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        GC




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                                                                   GC 7927.705




                                                                                                  GC 7927.705
                                                                                 GC 7927.705
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                                       GC 7927.705




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                                               GC 7927.705



                                                             GC 7927.705




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                                                  GC 7927.705
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                                         ID #:1253 Redaction Date: 3/13/2024 10:34:45 AM
       Redaction Log

       Total Number of Redactions in Document: 48


       Redaction Reasons by Page
        Page    Reason               Description                                Occurrences

                                     Information withheld pursuant to
                                     California Government Code 7927.705,
        1       GC 7927.705          which incorporates an individual’s right   4
                                     to privacy under the California
                                     Constitution (Cal. Const., art. I, 1).

                                     Information withheld pursuant to
                                     California Government Code 7927.705,
        3       GC 7927.705          which incorporates an individual’s right   12
                                     to privacy under the California
                                     Constitution (Cal. Const., art. I, 1).

                                     Information withheld pursuant to
                                     California Government Code 7927.705,
        4       GC 7927.705          which incorporates an individual’s right   14
                                     to privacy under the California
                                     Constitution (Cal. Const., art. I, 1).

                                     Information withheld pursuant to
                                     California Government Code 7927.705,
        5       GC 7927.705          which incorporates an individual’s right   5
                                     to privacy under the California
                                     Constitution (Cal. Const., art. I, 1).

                                     Information withheld pursuant to
                                     California Government Code 7927.705,
        6       GC 7927.705          which incorporates an individual’s right   10
                                     to privacy under the California
                                     Constitution (Cal. Const., art. I, 1).

                                     Information withheld pursuant to
                                     California Government Code 7927.705,
        7       GC 7927.705          which incorporates an individual’s right   1
                                     to privacy under the California
                                     Constitution (Cal. Const., art. I, 1).

                                     Information withheld pursuant to
                                     California Government Code 7927.705,
        8       GC 7927.705          which incorporates an individual’s right   2
                                     to privacy under the California
                                     Constitution (Cal. Const., art. I, 1).
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                                    ID #:1254 Redaction Date: 3/13/2024 10:34:45 AM
       Redaction Log

       Redaction Reasons by Exemption

        Reason               Description                                     Pages
                                                                             (Count)

                                                                             1(4)
                             Information withheld pursuant to California     3(12)
                             Government Code 7927.705, which                 4(14)
        GC 7927.705          incorporates an individual’s right to privacy   5(5)
                             under the California Constitution (Cal.         6(10)
                             Const., art. I, 1).                             7(1)
                                                                             8(2)
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28                                      PAGE 266
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[Records Center] CPRA REQUEST :: R001433-022824

From: CHPCA Support (chpca@govqa.us)
To:    macybuilders@yahoo.com
Date: Tuesday, May 21, 2024 at 12:12 PM PDT




--- Please respond above this line ---




  RE: CPRA REQUEST of February 28, 2024., Reference # R001433-022824.

  Dear Jeff Macy,

  The California Highway Patrol received your request for records on February 28, 2024.

  The Public Records Unit (PRU) has determined the Department possesses records
  responsive to your request. Please be advised certain information has been withheld
  pursuant to Government Code section(s) 7927.705, which incorporates an individual’s
  right to privacy under the California Constitution (Cal. Const., art. I, 1).

  As your request relates to the reevaluation of request number R001226-0022124, the
  PRU has concluded that the Department’s prior determination still stands. Information
  was redacted per Government Code section(s) 7927.705, which incorporates an
  individual’s right to privacy under the California Constitution (Cal. Const., art. I, 1).

  Please note, certain items being requested does not reasonably describe an
  identifiable record and does not meet the requirements contained in the Government
  Code section 7922.530. Additionally, the California Public Records Act (CPRA) does
  not compel agencies to respond to questions. The CPRA requires agencies to disclose
  certain tangible records, already in existence, unless an exemption applies.

   Please log in to the Public Records Center at the following link to retrieve the
  responsive records.
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CPRA REQUEST - R001433-022824

If you have any questions or need additional information, please respond to this email
or contact the PRU at (916) 843-4030.

Sincerely,

Joanna Titman
California Highway Patrol
Public Records Unit

To monitor the progress or update this request please log into the Public Records Center
